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           STATE OF MAINE                          SUPERIOR COURT
                                                   Civil Action
           CUMBERLAND, ss.                         Docket No. PORDC-CV-15-324




           NATIONAL COLLEGIATE STUDENT             )
           LOAN TRUST 2006-3,                      )
                                                   )
                           Plaintiff               )
                                                   )
           V.                                      )
                                                   )
           SARAH THURLOW, a/k/a                    )
           SARAH N. COFFEY, ET AL.,                )
                                                   )
                           Defendants              )




                    DEPOSITION of NATIONAL COLLEGIATE STUDENT LOAN

           TRUST 2006-3 by BRADLEY LUKE, taken pursuant to notice

           dated June 1, 2017, at the law offices of Troubh Heisler

           at 511 Congress Street, Portland, Maine, on June 16,

           2017, commencing at 10:05 a.m., before Claudette G.

           Mason, RMR, CRR, a Notary Public in and for the State of

           Maine.



           APPEARANCES:

           For the Plaintiff:               BRYAN C. SHARTLE, ESQ.
                                            MICHAEL D. ALLTMONT, ESQ.
                                            KATE E. CONLEY, ESQ.

           For the Defendants:              CYNTHIA A. DILL, ESQ.
                                            WILLIAM K. MCKINLEY, ESQ.




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      1

      2                     (Deposition Exhibit Nos. 1-19 were marked.)

      3    BRADLEY LUKE, having been duly sworn by the Notary

      4          Public, was examined and testified as follows:

      5                                EXAMINATION

      6    BY MS. DILL:

      7     Q.    Good morning.      My name is Cynthia Dill.

      8                Would you please state your name for the

      9           record?

    10      A.    Bradley Luke.

    11      Q.    And what is your position, Mr. Luke?

    12      A.    Senior litigation paralegal.

    13      Q.    For which company?

    14      A.    Transworld Systems, Incorporated.

    15      Q.    A senior litigation paralegal?

    16      A.    Yes, ma'am.

    17      Q.    How long have you had that position?

    18      A.    It's been about a year and a half now.               I believe

    19            it was October of 2015.

    20      Q.    Have you worked in the same capacity, senior

    21            litigation paralegal, from 2015 to the present?

    22      A.    From October 2015 to the present, yes, ma'am.

    23      Q.    And Transworld Systems is your employer?

    24      A.    Yes, ma'am.

    25      Q.    What did you do prior to October of 2015?

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      1     A.   I worked as a legal compliance manager.

      2     Q.   For whom?

      3     A.   Transworld Systems, Incorporated.

      4     Q.   How long have you worked for Transworld Systems,

      5          Incorporated?

      6     A.   Well, Transworld Systems, Incorporated, since

      7          November 1 of 2014.         Prior to that was a

      8          predecessor company, NCO Financial Systems,

      9          Incorporated.       And I have been employed with or I

    10           was employed with them as of January of 2010.

    11      Q.   So January of 2010 until 2014 you worked for NCO

    12           Financial Systems?

    13      A.   Yes, ma'am.

    14      Q.   Is that what you said?

    15      A.   November 1, 2014.

    16      Q.   When you first started at Transworld in 2014,

    17           what was your job?

    18      A.   Legal compliance manager.

    19      Q.   And at NCO Financial System between January of

    20           2010 and November of 2014, what was your

    21           position?

    22      A.   I started as a litigation specialist and then

    23           transitioned to a senior litigation specialist.

    24           I don't recall the exact dates, but about a year

    25           as litigation specialist and then a senior

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      1          litigation specialist.           And then I moved to the

      2          legal compliance manager in September of '14.

      3     Q.   And was legal compliance manager the last

      4          position you had for NCO Financial System?

      5     A.   Yes, ma'am.

      6     Q.   When you transitioned from being a legal

      7          compliance manager for NCO Financial Systems to

      8          being the legal compliance manager for

      9          Transworld, did your duties change?

    10      A.   No, ma'am.

    11      Q.   Did -- tell me more about NCO Systems.

    12                 MR. SHARTLE:       Object to the form.

    13      A.   Can you rephrase the question, please.

    14      Q.   Is NCO Systems a subsidiary of Transworld

    15           Systems?

    16                 MR. SHARTLE:       Objection, lack of time

    17           frame.

    18      A.   No, ma'am, they're not.

    19      Q.   Who owns NCO Systems?

    20                 MR. SHARTLE:       Objection.     No basis of

    21           knowledge.

    22                 MS. DILL:      Objection -- we don't do

    23           speaking objections in Maine.            So you can

    24           object for the record, and that's fine.

    25                 MR. SHARTLE:       Okay.    Objection.

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      1     A.   Can you repeat the question, please?

      2     Q.   Who owned NCO Systems when you were employed

      3          there as the legal compliance manager and senior

      4          litigation specialist and litigation specialist

      5          from 2010 to 2014?

      6                MR. SHARTLE:       Object to the form.

      7     A.   NCO Financial Systems at the -- at some point

      8          during my employment was owned by a company

      9          called EGS Financial.          I don't know the exact

    10           date that they became owner of NCO.

    11      Q.   How did NCO Systems transform into or become

    12           Transworld Systems?

    13                 MR. SHARTLE:       Objection, outside the

    14           scope of the notice.

    15      A.   NCO Financial Systems was owned by EGS.                EGS

    16           decided to sell a portion of the business,

    17           including certain portions of NCO's business,

    18           under the name of Transworld Systems.

    19      Q.   Is Transworld Systems a publicly traded company?

    20      A.   I do not know.

    21      Q.   Prior to your employment at NCO Systems, where

    22           did you work?

    23      A.   Axiant, LLC.

    24                 A X I A N T.

    25      Q.   What kind of company is that?

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      1     A.   They were in the business of debt collection and

      2          network services.

      3     Q.   What was your position at Axiant, LLC?

      4     A.   I don't recall.

      5     Q.   How long did you work there?

      6     A.   I worked there for almost a year and a half.

      7     Q.   And before that?

      8     A.   Just remedial part-time jobs.            I was also going

      9          to school.

    10      Q.   Where did you go to school?

    11      A.   Most currently, Frederick Community College in

    12           Frederick, Maryland.         Previous to that was

    13           Montana Tech University in Butte, Montana.

    14      Q.   Do you have a degree?

    15      A.   No, ma'am.

    16      Q.   Did you graduate from college?

    17      A.   No, ma'am.

    18      Q.   Have you ever had your deposition taken before?

    19      A.   Yes, ma'am.

    20      Q.   How many times?

    21      A.   I don't recall specifically.

    22      Q.   More than 10?

    23      A.   Yes, ma'am.

    24      Q.   More than 50?

    25      A.   No, ma'am.

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      1     Q.   When is the first time that you had your

      2          deposition taken?

      3     A.   2013.

      4     Q.   Was that in your capacity as the Transworld

      5          Systems legal compliance manager?

      6     A.   Yes, ma'am.

      7                No, that was -- I'm sorry.           I think you said

      8          Transworld Systems.         It was NCO Financial

      9          Systems' legal compliance manager.

    10      Q.   And how many times have you been deposed as an

    11           employee of Transworld Systems?

    12      A.   I don't recall.

    13      Q.   But less than 50?

    14      A.   Yes, ma'am.

    15      Q.   When is the last time you were deposed prior to

    16           today?

    17      A.   15 days ago maybe.

    18      Q.   Where was that?

    19      A.   San Diego, California.

    20      Q.   In what capacity were you deposed?

    21      A.   As the senior litigation paralegal of Transworld

    22           Systems.

    23      Q.   Was Transworld Systems a defendant or a plaintiff

    24           in that case?

    25      A.   Neither.      It was in their capacity as servicer

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      1          for a National Collegiate Student Loan Trust

      2          entity.

      3     Q.   Were you the 30(b)(6) designated witness in that

      4          deposition?

      5                MR. SHARTLE:       Objection, outside the

      6          scope of the notice.

      7     A.   Yes, ma'am, I was.

      8     Q.   Do you recall the name of the parties other than

      9          National Collegiate Student Loan and Transworld

    10           Systems?

    11      A.   Just the last names of the defendants.

    12      Q.   What is the last name of the defendants?

    13      A.   One was Mata, M A T A; and it was Macready,

    14           M A C R E A D Y, I believe.

    15      Q.   Do you know if that case was pending in state or

    16           federal court?

    17                 MR. SHARTLE:       Objection.

    18      A.   State.

    19                 MR. SHARTLE:       All this line of question

    20           is outside the scope of the notice.

    21      BY MS. DILL:

    22      Q.   Describe for me, please, the duties of your job

    23           as senior litigation paralegal for Transworld

    24           Systems?

    25      A.   I assist with incoming litigation either against

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    1          the company Transworld Systems or against one

    2          of the trust entities, review account records,

    3          work with outside counsel and in-house counsel on

    4          various litigation matters.

    5     Q.   In your work, is your job mostly connected with

    6          Transworld Systems in litigation to collect debts

    7          or defending against suits brought against

    8          Transworld?

    9     A.   I would say it's about an equal split.

   10     Q.   And do you serve as the senior litigation

   11          specialist in both capacities, both defending and

   12          prosecuting collection cases?

   13     A.   Yes, ma'am.       Senior litigation paralegal.

   14     Q.   How many senior litigation paralegals are there

   15          for Transworld?

   16     A.   Just one.

   17     Q.   And what department do you work in?

   18     A.   The legal and compliance department.

   19     Q.   Where is your office?

   20     A.   My personal office is located in Norcross,

   21          Georgia.

   22     Q.   The legal and compliance department of Transworld

   23          Systems --

   24     A.   Yes.

   25     Q.   -- is located in Norcross, Georgia?

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    1     A.   Well, we have employees in various locations that

    2          are part of that department.

    3     Q.   How many employees make up the legal and

    4          compliance department?

    5     A.   I'm not sure.

    6     Q.   How many employees work with you in the Norcross,

    7          Georgia, office?

    8     A.   There's -- now, there's two other members.

    9     Q.   How many other offices are there -- legal and

   10          compliance department offices for Transworld

   11          Systems that you're aware of?

   12     A.   Well, there's no actual offices for just that

   13          department.       There's employees that work in that

   14          department in various offices that make part of

   15          that office.       I'm uncertain how many actual

   16          offices house members of my department.

   17     Q.   Can you give me some sense of how many offices

   18          Transworld Systems has around the country?

   19     A.   I'm not sure.

   20     Q.   What's the closest Transworld Systems office to

   21          where you are right now in Portland, Maine?

   22     A.   To my knowledge -- I can't speculate.                  I don't

   23          have a map in front of me.           I don't know the mile

   24          distances.

   25     Q.   Okay.     That's fair.      In your office in Norcross,

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    1          Georgia, are there records maintained?

    2                 MR. SHARTLE:      Object to the form.

    3     A.   Can you clarify that question, please.

    4     Q.   What records do you have at your disposal in the

    5          Norcross, Georgia, office?

    6                 MR. SHARTLE:      Object to the form.

    7     A.   I'm still not understanding.

    8     Q.   How big is the office in Norcross, Georgia?

    9                 MR. SHARTLE:      Object to the form.

   10     A.   I believe we have about 50 to 70 employees there.

   11     Q.   And did you say two plus yourself work in legal

   12          and compliance?

   13     A.   Yes, ma'am.       Out of that office.

   14     Q.   Who is your supervisor?

   15     A.   Jonathan Thompson.

   16     Q.   What's his position?

   17     A.   Chief compliance officer.

   18     Q.   So when you say you assist with litigation, what

   19          actually do you do?

   20     A.   I review legal complaints, account notes in

   21          reference to allegations pled.            I also look at

   22          compliance of any calls or letters that were sent

   23          out.    Basically a full, thorough review of any

   24          subject account that's mentioned in a litigation

   25          matter.

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    1     Q.   And when you're doing this review, are you

    2          thumbing through a Redwell file full of papers;

    3          or is it all online?

    4     A.   These are generally electronic files.

    5     Q.   Okay.     So what system do you have at your

    6          disposal in Norcross, Georgia, to access these

    7          various records that you use to assist in the

    8          litigation for Transworld Systems?

    9     A.   We have various systems.           All our offices are

   10          linked together through the internet and servers

   11          so we have access to our legal -- our centralized

   12          repositories that house various documents,

   13          letters, call logs.         And we also have our various

   14          systems of record that the account records are

   15          maintained in.

   16     Q.   Starting with the last category, the system of

   17          record where the account records are maintained,

   18          what do you call that system?

   19     A.   Depending on what type of account it is, we have

   20          different systems.         The two major systems are

   21          FACS, F A C S, and CRS.

   22     Q.   What's the second one?

   23     A.   CRS.

   24     Q.   What do those acronyms stand for; do you know?

   25     A.   CRS is collection resource system.              I'm uncertain

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    1          what FACS stands for or if it stands for

    2          anything.

    3     Q.   In this matter the claims brought by National

    4          Collegiate Student Loan Trust against Sarah

    5          Thurlow, now Sarah Coffey, do you know which

    6          systems were reviewed for purposes of checking

    7          her accounts?

    8     A.   So her individual account, the system of record

    9          is CRS for that account.           There's also other

   10          ancillary systems used to review the account

   11          records and documents, those being -- it's an

   12          online database called a Media Locator, which

   13          houses individual account level documents such as

   14          the promissory note, payment histories, that sort

   15          of thing.

   16     Q.   The ancillary system Media Locator, who created

   17          that?

   18     A.   I don't know.

   19     Q.   Do you have access to that?

   20     A.   Yes, ma'am.

   21     Q.   And is it -- you said that's where the documents

   22          such as the promissory note is maintained?

   23     A.   Yes, ma'am.       Loan level documentation.

   24     Q.   Who created that system of documents; do you

   25          know?

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    1     A.   Can you rephrase that?

    2     Q.   Who entered the documents into the system?

    3                MR. SHARTLE:       Object to the form.

    4     A.   I'm uncertain of the individual person who

    5          entered the documents.

    6     Q.   Are you certain of the entity or organization

    7          that did?

    8     A.   It depends on what time it was.             It would have

    9          been either NCO or Transworld Systems depending

   10          on what time period we're talking about.

   11     Q.   The time period in the National Collegiate

   12          Student Loan Trust 2006-3 versus Sarah Thurlow,

   13          do you know which ancillary system or -- strike

   14          that.

   15                Do you know whether it was Transworld Systems

   16          or NCO responsible for inputting the loan

   17          documents into the Media Locator?

   18     A.   It would depend on what document it is and what

   19          time that document was put in.            So without being

   20          in front of my system, I would not be able to

   21          state which document was put in by which party.

   22     Q.   What decides what system of record applies to a

   23          specific account?

   24     A.   The client.

   25     Q.   The client decides?

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    1     A.   Well, depending on the client.            So --

    2     Q.   Who is your client?

    3     A.   We have many clients.

    4                MR. SHARTLE:       Object to the form.

    5     BY MS. DILL:

    6     Q.   In this particular case.

    7                MR. SHARTLE:       Object to the form.

    8     A.   Can you restate that?

    9     Q.   In the case of National Collegiate Student Loan

   10          Trust 2006-3 versus Sarah Thurlow pending in

   11          Portland District Court, who is your client?

   12     A.   We're contracted by U.S. Bank National

   13          Association on behalf of the plaintiff's trust

   14          entity, National Collegiate Student Loan Trust

   15          2006-3.

   16     Q.   Whose decision was it to bring the lawsuit

   17          against Sarah Thurlow, otherwise known as Sarah

   18          Coffey, and Vickie McMullen?

   19                MR. SHARTLE:       Object to the form.

   20     A.   Can you rephrase, please.

   21     Q.   What entity makes -- made the decision in this

   22          case to file the collection lawsuits that are the

   23          subject of this deposition?

   24     A.   That would be, for this case or these two cases

   25          that are at issue today, Ratchford Law Group.

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    1     Q.   What's the relationship between the Ratchford Law

    2          Group and Transworld System?

    3     A.   They're contracted by Transworld Systems as an

    4          attorney law firm.

    5     Q.   And Transworld gives the Ratchford Law Group

    6          discretion as to whether or not to file --

    7     A.   Yes, ma'am.

    8     Q.   -- lawsuits?

    9                On what basis does the Ratchford Law Group

   10          make its decision whether or not to file a

   11          lawsuit?

   12     A.   I'm uncertain.

   13     Q.   Are you aware of the contract between the

   14          Ratchford Law Group and Transworld Systems?

   15     A.   Yes, ma'am.

   16     Q.   Is it an attorney-client relationship?

   17                MR. SHARTLE:       Object, calls for a legal

   18          conclusion.

   19     A.   I'm uncertain.

   20     Q.   Does the Ratchford Law Group have an interest --

   21          an economic interest in the outcome of the

   22          lawsuit?

   23                MR. SHARTLE:       Object to the form.

   24     A.   Can you rephrase that, please.

   25     Q.   Does the Ratchford law firm get paid only if

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    1          money is collected as a result of the lawsuit?

    2     A.   Not as a result of the lawsuit.             They get paid

    3          for money collected.         It has nothing to do

    4          whether a suit was filed or outcome of the

    5          lawsuit.

    6     Q.   Is it a contingent fee?

    7     A.   Yes, ma'am, it is.

    8     Q.   How is Transworld Systems paid?

    9     A.   We also take a percentage of payments received.

   10     Q.   And are there any other organizations or people

   11          who have an economic interest in the lawsuit that

   12          was filed by the National Collegiate Student Loan

   13          Trust against Sara Thurlow?

   14                MR. SHARTLE:       Object to the form.

   15     A.   Please rephrase.

   16     Q.   Other than -- it sounds like if -- if National

   17          Collegiate Student Loan Trust is successful in

   18          collecting the money it says it is owed by my

   19          clients, Ratchford Law Group is going to get some

   20          of it.     Correct?

   21     A.   Yes, ma'am.

   22     Q.   And Transworld Systems will get some of it.

   23          Correct?

   24     A.   Yes, ma'am.

   25     Q.   And what other organizations or people will get

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    1          some of the proceeds from a successful collection

    2          lawsuit such as the one that you're talking

    3          about?

    4     A.   As stated, it has nothing to do with the

    5          successful collection lawsuit.            It's just

    6          recovery of sums owed.          But the remaining portion

    7          we remit to U.S. Bank on behalf of the trust that

    8          owns the loan, and then they will disburse it to

    9          various parties.        To whom I'm uncertain of.

   10     Q.   Describe for me, please, the training that you

   11          received before you were made the senior

   12          litigation paralegal for Transworld Systems?

   13     A.   Specific to that job capacity?

   14     Q.   Yes.

   15     A.   There's really no additional training.                 It was

   16          just a progression of prior duties.

   17     Q.   Have you ever been trained as a paralegal?

   18                 MR. SHARTLE:      Object to the form.

   19     A.   Can you rephrase that?

   20     Q.   Do you have any training to be a paralegal?

   21                 MR. SHARTLE:      Object to the form.

   22     A.   No, ma'am.

   23     Q.   Have you ever taken any paralegal courses?

   24     A.   No, ma'am.

   25     Q.   Have you ever personally been a party to a

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    1          lawsuit?

    2     A.   Not to my knowledge.

    3     Q.   Have you ever been arrested?

    4     A.   No, ma'am.

    5     Q.   Have you ever filed bankruptcy?

    6     A.   No, ma'am.

    7     Q.   Do any of the duties of your job as the senior

    8          paralegal -- let's see, senior litigation

    9          paralegal include receiving, applying, or

   10          accounting for loan payments?

   11                 MR. SHARTLE:      Object to the form.

   12    BY MS. DILL:

   13     Q.   I can break that down, if you want.

   14     A.   Yes.    Please do.

   15     Q.   Does it -- as the senior litigation paralegal, do

   16          you have any job duties around collecting money

   17          from student loan borrowers?

   18                 MR. SHARTLE:      Object to the form.

   19     A.   Directly, no, ma'am.

   20     Q.   Do you have any responsibilities around applying

   21          payments made by student borrowers to amounts

   22          allegedly owed to the trust?

   23                 MR. SHARTLE:      Object to the form.

   24     A.   No, ma'am.

   25     Q.   Do you have any responsibilities for accounting

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    1          in terms of the various loan transactions that

    2          come in?      Do you manage any of those accounting

    3          functions?

    4     A.   I do not manage any of those accounting

    5          functions.

    6     Q.   In this case, who was responsible for servicing

    7          the loans at issue?

    8                MR. SHARTLE:       Object to the form.

    9     A.   The original servicer for the loans was a company

   10          called American Education Services.

   11     Q.   Tell me about that company, as much as you know.

   12     A.   They are a loan servicer owned and doing business

   13          through Pennsylvania Higher Education Assistance

   14          Agency.     And they service -- for these particular

   15          loans, they service loans from time of

   16          disbursement until the loan is defaulted and

   17          charged off.

   18     Q.   Are they connected in any way, as far as you

   19          know, to Transworld Systems or the National

   20          Collegiate Student Loan Trust?

   21                MR. SHARTLE:       Object to the form,

   22          connected.

   23     A.   Can you clarify connected.

   24     Q.   Do they have a legal relationship?

   25                MR. SHARTLE:       Object to the form, calls

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    1          for a legal conclusion.

    2     A.   Can you rephrase that?

    3     Q.   You said that AES was the servicer for this

    4          particular loan.        As servicer, was it working for

    5          Transworld Systems?

    6     A.   Not as servicer, no, ma'am.

    7     Q.   Who was AES working for when they were servicing

    8          this loan?

    9     A.   They were working for the trust.

   10     Q.   Does AES continue to service loans for the trust,

   11          as far as you know?

   12     A.   As of today, yes.        Any current loan that has not

   13          defaulted.

   14     Q.   Does AES have its own system of accounting?

   15     A.   Yes, ma'am.

   16     Q.   Is either the FACS system or the CRS system that

   17          you mentioned earlier systems used by AES?

   18     A.   No, ma'am, they are not.

   19     Q.   Do you have access to the AES database as the

   20          senior litigation paralegal for Transworld

   21          Systems?

   22     A.   Yes, ma'am, I do.

   23     Q.   How is it that you have access to that?

   24     A.   With our relationship with AES, they have granted

   25          certain individuals who work for TSI, Transworld

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    1          Systems, on behalf of the trust access to

    2          their system through our own unique log-in

    3          credentials and have provided training on their

    4          systems of record as well as their practices and

    5          inputting records into their system and

    6          maintaining them.

    7     Q.   Okay.     So you do know then a little bit about the

    8          relationship that AES has with Transworld because

    9          you just mentioned it.          So what do you understand

   10          of the relationship between AES and Transworld?

   11     A.   Well, we have various relationships.              Transworld

   12          is a large company, and so is AES.              Pertaining to

   13          this particular loan, it's the servicing

   14          relationship, the handoff between the time that

   15          AES services up until default of the loan where

   16          today Transworld takes over at default.                  So we

   17          work together in that middle period where the

   18          loans are charging off.

   19                And also, Transworld provides a function for

   20          delinquent loans.        Once a loan goes 31 days

   21          delinquent, AES will send it to Transworld

   22          Systems to then send out to an agency to attempt

   23          to recover and cure that delinquency.                  If they're

   24          a month past due, they try to bring that loan

   25          current.      And Transworld will manage that process

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    1          by placing that loan out with another third-party

    2          entity or in some cases placing it back to AES

    3          for them to attempt to cure the delinquency.

    4     Q.   Other than the records that AES provides you

    5          through your unique log-in, does Transworld

    6          System have any other records of the loan at

    7          issue?

    8                MR. SHARTLE:       Object to the form.

    9     A.   Can you please rephrase that?

   10                I don't understand.

   11     Q.   AES was the loan servicer through default.

   12          Correct?

   13     A.   Yes, ma'am.

   14     Q.   And during that time generated records of the

   15          account --

   16     A.   Yes, ma'am.

   17     Q.   -- when payments were made.           Correct?

   18     A.   Yes, ma'am.

   19     Q.   And at the time of default or around that time,

   20          the case is then transferred to Transworld.

   21          Right?

   22     A.   The loan is, yes, ma'am.

   23     Q.   Right.     At the time of that transfer, the

   24          handoff, is -- the account history, the payments

   25          made, credits, et cetera, interest accrued, is

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    1          that information that is transferred from AES to

    2          Transworld?

    3     A.   Yes, ma'am, it is.

    4     Q.   Okay.     Other than the information that Transworld

    5          gets about the loan from AES at the time of

    6          transition, does Transworld have any other

    7          independent records of the loan history; or is it

    8          working on or working off the information it got

    9          from AES?

   10     A.   The information from AES at time of default goes

   11          to Transworld to create our initial -- our

   12          initial file.       And then we pick up from there on

   13          the servicing with any interest accrual, payments

   14          being credited, adjustments.            And we monitor and

   15          service the loan from that point forward.

   16     Q.   Okay.     And my question was at the point that you

   17          get the information from AES, do you have any

   18          other independent source of information about the

   19          past history of the loan; or do you rely solely

   20          on what AES gives you?

   21     A.   We rely on what AES gives us.            I mean, as the --

   22          as servicing the loan, they were the ones

   23          responsible for maintaining the accurate loan

   24          records.      So they give it to us, and we take it

   25          from there.

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    1     Q.   And AES has a -- one system of maintaining loan

    2          records -- a unique system apparently -- correct,

    3          that's different from the FACS and the CRS; is

    4          that right?

    5     A.   Yes, ma'am.

    6     Q.   What is the AES system called?

    7     A.   OC Web.     It's also referred to as Compass

    8          sometimes.

    9     Q.   How is it that loan payment information was used

   10          to create records by AES?

   11                MR. SHARTLE:       Object to the form.

   12     A.   Can you rephrase that?

   13     Q.   What -- how did AES create its records?

   14                MR. SHARTLE:       Objection, outside the

   15          scope of the notice.         He's here as a TSI

   16          representative.

   17     BY MS. DILL:

   18     Q.   Do you know?

   19     A.   Maybe if you rephrase it?           I'm -- I'm not

   20          understanding.

   21     Q.   As the senior litigation paralegal, you get word

   22          or there's notice that a loan has been defaulted.

   23          And, therefore, it's going to go from AES to

   24          Transworld.       Right?

   25     A.   Yes, ma'am.

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    1     Q.   At that point when you get the AES information,

    2          does it come to you on AES Compass system?

    3                Do you go into the AES system and retrieve

    4          information and put it into Transworld System?

    5     A.   No, ma'am.      AES provides us an electronic file

    6          with information comprised from their system.

    7          And they send that to us through a secure site.

    8          And we take that information and upload it into

    9          our system.

   10     Q.   So what you get from AES is a summary of their

   11          file; is that right?

   12                MR. SHARTLE:       Objection, mischaracterization.

   13     A.   It's an electronic file that they give us that's

   14          comprised of their system -- the information

   15          that's contained within their system.

   16     Q.   Do you have the ability to go in and make changes

   17          to the documents that are produced by AES?

   18     A.   No, ma'am.

   19     Q.   Other than logging in and viewing the documents,

   20          do you have any other responsibilities for the

   21          AES file once it comes through?

   22     A.   Can you rephrase that, please?

   23     Q.   Do you, for instance, do anything to ensure the

   24          accuracy of the AES electronic file?

   25     A.   There's various systematic checks that are put in

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    1          place at time of the file coming over to us

    2          before we import it into our system.              So if

    3          there's data missing, it will be kicked out

    4          in an exception file and manually reviewed.

    5          Or if there's data that appears to be suspect,

    6          like if an account comes over to us with a

    7          balance of 1 cent, that's going to be kicked

    8          out as an exception to be manually reviewed to

    9          see if it's accurate and should have come over.

   10                 And there's other system checks in place that

   11          when the account -- when the file comes over from

   12          AES, that whole file gets run through these

   13          various scrubs; and any exceptions get kicked

   14          out.    And if there's no exceptions on some of

   15          the files, those would then get put into our

   16          system --      TSI system.

   17     Q.   How many files do you manage?

   18                 MR. SHARTLE:      Object to the form.           Are

   19          you asking about him or the company?

   20     BY MS. DILL:

   21     Q.   You personally.

   22     A.   I -- I don't know.

   23     Q.   How is it that you don't know?

   24                 MR. SHARTLE:      Objection, argumentative.

   25     A.   Well, I don't know what you mean by how many

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    1          accounts I manage.

    2     Q.   You assist in litigation.           Right?

    3     A.   Yes, ma'am.

    4     Q.   How many cases are you assisting in?

    5     A.   I'm uncertain.

    6     Q.   More than 100?

    7     A.   For the entire company, yes, ma'am.

    8     Q.   How many lawsuits do you believe Transworld

    9          Systems has authorized firms such as the

   10          Ratchford group to file on behalf of the National

   11          Collegiate Student Loan Trust?

   12     A.   I'm uncertain.

   13     Q.   How many lawsuits are you aware of involving the

   14          National Collegiate Student Loan Trust?

   15     A.   I don't know.

   16     Q.   Okay.     I'm going to give you -- these are

   17          premarked exhibits that --

   18                    (Discussion off the record.)

   19     BY MS. DILL:

   20     Q.   Okay.     First, I would like you to please look at

   21          Exhibit 1 and --

   22                    (Discussion off the record.)

   23     BY MS. DILL:

   24     Q.   I have marked for identification, and I would

   25          like you to please review Exhibit 1, which is the

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    1          second amended notice of deposition.              Have you

    2          seen this document before?

    3     A.   Yes, ma'am.

    4     Q.   And are you the designated witness to testify for

    5          National Collegiate Student Loan Trust 2006-3 on

    6          the matters described in the notice?

    7     A.   Yes, ma'am.

    8     Q.   Now, I would like you to please look at

    9          Deposition Exhibit 2.          And Deposition Exhibit 2

   10          is an affidavit and verification of account that

   11          was filed in this case in support of a motion for

   12          default.      Correct?

   13     A.   This is affidavit and verification of account.                     I

   14          don't recall whether it was filed for a motion

   15          for default or not.

   16     Q.   Okay.     Do you know James Cummins?

   17     A.   Yes, ma'am, I do.

   18     Q.   And is he still employed by Transworld Systems?

   19     A.   Yes, ma'am.

   20     Q.   And what is his job?

   21     A.   He's a legal case manager.

   22     Q.   Does he work with you?

   23     A.   He works in the same office as me.

   24     Q.   In the same actual physical space?

   25     A.   Yes, ma'am.

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    1     Q.   How long has he been a legal case manager; do you

    2          know?

    3     A.   Two years, maybe two and a half.

    4     Q.   Are you his boss?

    5     A.   No, ma'am.

    6     Q.   Is he your boss?

    7     A.   No, ma'am.

    8     Q.   What is his relationship to you in terms of the

    9          day-to-day job?

   10     A.   I assist if any questions come up that he may

   11          have reviewing an affidavit or discovery or

   12          otherwise.

   13     Q.   Did Mr. Cummins ever discuss with you this case

   14          or the related -- when I say this case, for the

   15          record I'm now talking about loans -- the -- yes,

   16          both civil dockets 15-324 and 15-326, which have

   17          been consolidated.

   18     A.   I don't recall him discussing either of these two

   19          cases with me.

   20     Q.   What did you do to prepare for today's

   21          deposition?

   22     A.   I reviewed the notices.          I had looked through the

   23          account records of both of the accounts at issue

   24          for Ms. Thurlow.

   25     Q.   Do you have those records with you?

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    1     A.   No, ma'am.

    2     Q.   Where did you look at the account records?

    3     A.   Online through our systems, CRS, I looked through

    4          the AES system, the Compass OC.

    5     Q.   Is the AES system the same as the Compass --

    6     A.   Yes.

    7     Q.   -- OC system?

    8     A.   Yes, ma'am.

    9     Q.   So the CRS and the AES system, are those the

   10          universe of systems that contain documents

   11          related to this case?

   12     A.   Well, those are the electronic systems for the

   13          electronic files.        The actual documents are

   14          maintained on the site that we talked about

   15          earlier, Media Locator, which is the repository

   16          of the account level documents.

   17     Q.   Where is the Media Locator?

   18     A.   It's an online portal that's maintained with one

   19          of our servers.

   20     Q.   Who maintains it?

   21     A.   It's maintained by TSI.

   22     Q.   How did TSI get the documents?

   23     A.   Which documents in particular?

   24     Q.   Well, for instance, the promissory note.

   25     A.   That was transferred to either TSI or NCO.                 I

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    1          don't recall exactly when the transfer occurred

    2          at default by AES.

    3     Q.   By AES?

    4     A.   Yes, ma'am.

    5     Q.   So the actual physical documents -- are there any

    6          actual physical documents, pieces of paper?

    7                 MR. SHARTLE:      Object to the form.

    8     A.   For this particular loan?

    9     Q.   Yes.

   10     A.   Not to my knowledge.

   11     Q.   And when you say this particular --

   12     A.   Not in TSI's possession.

   13     Q.   And when you say in this particular case, are you

   14          referring to both cases --

   15     A.   Yes, ma'am.

   16     Q.   -- both loans?

   17     A.   I am.

   18     Q.   Okay.     So there are no paper documents in TSI's

   19          possession.       Do you know if there's paper

   20          documents anywhere?

   21     A.   The only --

   22                 MR. SHARTLE:      Object to the use of the

   23          term paper documents.

   24    BY MS. DILL:

   25     Q.   Do you know what I mean when I say paper

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    1          documents?

    2     A.   Actual documents that main -- or that are

    3          maintained outside of an electronic system?

    4     Q.   Yes.

    5     A.   Okay.     Other than letters that were sent or other

    6          correspondence sent by Ms. -- or to Ms. Thurlow

    7          that she may have in her possession, there are no

    8          other paper documents that I'm aware of.

    9     Q.   Okay.     So when you talk about looking at

   10          documents, it's always an electronic database?

   11     A.   Pertaining to Ms. Thurlow's loan, yes; that is

   12          correct.

   13     Q.   And it's either the CRS system -- which TSI

   14          created and maintains.          Correct?

   15     A.   I don't know if TSI created it.

   16     Q.   Okay.     But it's the TSI system?

   17     A.   For these loans, yes, ma'am.

   18     Q.   And the AES?

   19     A.   Yes, ma'am.       Those are the electronic account

   20          records that maintain the actual account.                 Then

   21          we have the Media Locator that has actual

   22          documents that are saved in electronic format

   23          such as copies of the promissory note, other

   24          payment histories.         There's another system called

   25          Compass -- not Compass, On Base that maintains

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    1          any copies of correspondence that we may have --

    2          TSI may have received pertaining to the loan.

    3     Q.   Okay.     So for those three systems of document

    4          management, CRS, Compass, and Media Locator, do

    5          you, as the senior litigation paralegal, have the

    6          ability to change any of the documents or --

    7     A.   In Media Locator, no, because those are scans of

    8          actual documents.        Those are all maintained in

    9          PDF or TIFF format.

   10     Q.   Okay.

   11     A.   CRS, yes, I can update such things as address, if

   12          we get a new address, or a phone number.                I can

   13          input account notes, spoke to consumer, discussed

   14          whatever.      And I could update the status of the

   15          account.

   16                So I can make modifications within CRS.                And

   17          that's dictated by each individual's log-in.                  So

   18          some individuals can do things that others can't.

   19                AES, I have no ability; nor does any TSI

   20          representative have ability to change or alter

   21          any information in the AES system.              It's strictly

   22          for view only.

   23     Q.   Okay.     And is it fair to say that you don't

   24          really know how the Media Locator documents were

   25          created?

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    1                MR. SHARTLE:       Objection, mischaracterization.

    2     A.   The documents weren't created.

    3     Q.   They were scanned?

    4     A.   They were scanned into the locator.              So --

    5     Q.   When was that done; do you know?

    6     A.   It depends on the documents.

    7     Q.   Okay.

    8     A.   The Media Locator has multiple documents.                 So

    9          this one, the loan charged off in April of 2012.

   10          So at or around April -- usually we get the

   11          documents within the month preceding, so within

   12          March -- and without looking at the actual system

   13          I don't know the exact date; but in March or

   14          April of 2012 AES would have sent over an

   15          electronic file containing scans of promissory

   16          notes for loans that were charging off.                Those

   17          scans would have then been identified, tagged

   18          with the appropriate account number, and then

   19          scanned in and stored in the Media Locator under

   20          the individual account that those documents

   21          pertained to.       There's other documents that we

   22          get throughout the course that are scanned in at

   23          later dates potentially.

   24     Q.   So -- but you don't know who actually did the

   25          scanning in this particular case?

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    1     A.   The individual person, no.

    2     Q.   Or when?

    3     A.   When, it would have been in March of 2012.

    4     Q.   Okay.     You're speculating though a little bit

    5          because --

    6                MR. SHARTLE:       Objection, argumentative.

    7    BY MS. DILL:

    8     Q.   -- because that's what typically happens?

    9                MR. SHARTLE:       You asked him, and he

   10          answered the question.

   11    BY MS. DILL:

   12     Q.   Do you know for a fact that the documents were

   13          transferred in March?

   14     A.   In March or April, yes, ma'am.

   15     Q.   Okay.     And the date of transfer is something you

   16          know based on what?

   17     A.   That's the business practice.

   18     Q.   Okay.     So in this case, do you know -- is there

   19          any evidence that the documents were transferred

   20          at that time; or are you just assuming that they

   21          were because that's the practice?

   22                MR. SHARTLE:       Objection.     You're arguing

   23          with the witness.        Asked and answered.

   24    BY MS. DILL:

   25     Q.   And I'm not trying to argue you.             I apologize if

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    1          you're taking my questions as argument.

    2     A.   As stated, without looking at my system, I don't

    3          know the exact dates --

    4     Q.   Okay.

    5     A.   -- that the documents were logged in.

    6     Q.   All right.      Getting back to Exhibit 2, is there a

    7          reason why Mr. Cummins has not appeared for

    8          today's deposition given the subject matter

    9          described in the notice?

   10     A.   Well, the notice actually just describes

   11          Ms. Holiday's affidavit, not Mr. Cummins's.                 And

   12          it's a 30(b)(6) with a wider scope.              And we

   13          determined through discussions --

   14                MR. SHARTLE:       Don't reveal any of the

   15          conversations that we have had.

   16     A.   -- that I would be the witness.

   17     Q.   Okay.     The affidavit and verification of account

   18          that Mr. Cummins signed that you're here to

   19          testify about, that is a standard form, correct,

   20          that's used in many cases brought by National

   21          Collegiate Student Loan Trust?

   22                MR. SHARTLE:       Object to the form.

   23                MS. DILL:      This is cross-examination.

   24          And these --

   25                MR. SHARTLE:       I know.    It's a very bad

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    1          question, too.

    2                 MS. DILL:     Okay.

    3    BY MS. DILL:

    4     Q.   Isn't it true that the affidavit and verification

    5          of account is a form that's used often in cases

    6          brought by National Collegiate Student Loan Trust

    7          was the question?

    8     A.   This was an affidavit template that was used at

    9          the time that was in production at the time that

   10          it was signed and used for this individual trust

   11          entity.

   12     Q.   Who created the document?

   13     A.   Can you clarify that, please.

   14     Q.   Exhibit 2, which is a document that was filed by

   15          the National Collegiate Student Loan Trust in the

   16          Portland District Court signed by Mr. Cummins,

   17          who created it?

   18                 MR. SHARTLE:      Object to the form.           Who

   19          signed it?       Who actually authored the

   20          document?      Who typed the document?

   21     A.   Yes.    I'm --

   22                 MR. SHARTLE:      Object to the form of the

   23          question.

   24     A.   I'm uncertain as to what you mean by who created

   25          it.

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    1     Q.   The -- you said it was a template?

    2     A.   Yes, ma'am.

    3     Q.   Who made the template?

    4     A.   Multiple parties had input on the template,

    5          including inside and outside counsel.

    6     Q.   And is your office in the county of Gwinnett?

    7     A.   Gwinnett, yes, ma'am.

    8     Q.   Gwinnett, okay.

    9                And does Mr. Cummins work in Gwinnett?

   10     A.   Yes, ma'am.

   11     Q.   Did Mr. Cummins stamp his name on the front?

   12     A.   Yes, ma'am.

   13     Q.   Did you see him do that?

   14     A.   No, ma'am.

   15     Q.   Did he tell you that he did that?

   16     A.   No, ma'am.

   17     Q.   Did you have any conversations with Mr. Cummins

   18          before today's deposition about this case?

   19     A.   No, ma'am.

   20     Q.   How do you know then that he did stamp his name?

   21     A.   The procedures that all the affiants, legal case

   22          managers, follow have them being required to

   23          check out affidavit batches or a batch and

   24          review.     And they have -- they're the only ones

   25          with the ability to stamp their name.                  They

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    1          maintain their own stamps.           They're not in any

    2          public area that another employee could get ahold

    3          of and stamp someone else's name.

    4     Q.   How many affidavits and verification of accounts

    5          make up a batch; do you know?

    6     A.   Currently, it's no more than 10 within a batch.

    7     Q.   And how many batches are usually processed by a

    8          legal case manager for TSI on a daily basis?

    9     A.   Typically no more than three or four batches are

   10          reviewed.      And some of those -- some of those

   11          batches are less than 10.           And also some of those

   12          affidavits are not signed, for various reasons.

   13          So --

   14     Q.   Before today's deposition, had you ever seen

   15          what's been marked Deposition Exhibit 2?

   16     A.   Yes, ma'am.

   17     Q.   When?

   18     A.   Throughout my review of the accounts in

   19          preparation of today's deposition.

   20     Q.   When is the first time that you saw it?

   21     A.   I don't recall.

   22     Q.   Was it yesterday?

   23     A.   No, ma'am.

   24     Q.   In the second paragraph of Deposition Exhibit 2,

   25          Mr. Cummins swore that he was competent and

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    1          authorized to testify relating to this action

    2          through personal knowledge of the business

    3          records, including the electronic data, sent to

    4          TSI that detail the education loan records.                 Do

    5          you know what he's referring to in that

    6          paragraph?

    7     A.   So that refers to both the electronic records

    8          that we talked about earlier that AES sent over

    9          at time of charge-off to form our initial account

   10          file, including the -- and also including any

   11          electronic data that we have gained throughout

   12          the servicing process up until the time that he

   13          reviewed this affidavit.

   14     Q.   Do you know if Mr. Cummins actually did that

   15          review?

   16     A.   I believe he did.

   17     Q.   And what are the record management practices and

   18          procedures that the National Collegiate Student

   19          Loan Trust requires of Transworld System?

   20     A.   So they require us to keep and maintain the

   21          electronic record, log any payments or

   22          adjustments to the account record accurately

   23          and on a timely basis, and maintain the actual

   24          loan documents in electronic format with no

   25          destruction policy on those documents.

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    1     Q.   Where does this policy -- where is it

    2          memorialized?

    3     A.   It's memorialized within our contract.

    4     Q.   What contract is that?

    5     A.   The contract that we have that enacts us as

    6          servicer.

    7     Q.   The contract between Transworld Systems and

    8          National Collegiate Student Loan Trust?

    9     A.   It's between Transworld Systems and U.S. Bank.

   10     Q.   Have you read the contract?

   11     A.   Yes, ma'am.

   12     Q.   How long is it?

   13     A.   It's got multiple amendments to it.              I'm not sure

   14          in total how many pages it is.

   15     Q.   Now, Mr. Cummins attached to his affidavit and

   16          verification of account what he said was a true

   17          copy of the underlying credit agreement and

   18          promissory note, which is Deposition Exhibit 3.

   19          Deposition Exhibit 3 consists of a note

   20          disclosure statement and one page of a loan

   21          request credit agreement.           Correct?

   22     A.   Yes, ma'am.

   23     Q.   When Mr. Cummins accessed the electronic data to

   24          append what he testifies is a true copy of the

   25          underlying credit agreement and promissory note,

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    1          which system did he use?

    2     A.   Actually, when the affidavits are prepared and

    3          taken out by the affiant, they already have the

    4          exhibit attached to it.          So he didn't personally

    5          pull the exhibit to match it up with.                  It was

    6          already pulled for him.

    7     Q.   By whom?

    8     A.   By a member of the affidavit production team.

    9          And Mr. Cummins would go through the documents

   10          that were attached and verify their accuracy

   11          based on the account record -- the electronic

   12          account record that we have both in CRS and

   13          within AES.

   14     Q.   So the actual figures that are included in the

   15          affidavit in paragraph 6 allegedly stating the

   16          amounts owed by my clients, those figures were

   17          not inserted by Mr. Cummins?

   18     A.   No, ma'am.

   19     Q.   Who inserted those figures?

   20     A.   That would have been through the merge process

   21          when the template was used by the affidavit

   22          production team.

   23     Q.   What is the merge process used by the affidavit

   24          collection -- what is the affidavit -- what team?

   25     A.   Production team.

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    1     Q.   What is the merge process used by the affidavit

    2          production team?

    3     A.   It's a simple merge function within Word.                    So

    4          there's various fields, including those balance

    5          fields, that are merge fields.            So they would

    6          pull in the data that corresponds to that merge

    7          field out of the affidavit database.

    8     Q.   When the affidavit production team uses this

    9          merge function, does it extract the numbers from

   10          the AES database?

   11     A.   No.     They're from the CRS system.          So CRS will

   12          send a file to our affidavit database.                 Our

   13          affidavit database will then update the

   14          information based on the information from CRS

   15          at the time that that affidavit was requested.

   16          And then when the affidavits goes to print, the

   17          various fields that are within it merge to

   18          include the data that was inputted into the

   19          affidavit database that came from CRS.

   20     Q.   And the CRS -- I'm still unclear about the -- the

   21          CRS database, it has loan information that was

   22          obtained independently of AES or from AES?

   23     A.   Both.     So the initial record within CRS is data

   24          from AES.      And then throughout time that record

   25          continues to grow.

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    1     Q.   Right.

    2     A.   If there's any additional payments made, that's

    3          put directly into CRS.

    4     Q.   Okay.     But as far as the time period that AES was

    5          the servicer of the loan, the only information

    6          about the loan for that time period was generated

    7          by AES.     Correct?

    8     A.   Yes, ma'am.

    9     Q.   And did you say it was a merge function within

   10          Word?

   11     A.   Yes, ma'am.

   12     Q.   Like Microsoft Word?

   13     A.   Yes, ma'am.

   14     Q.   Is the affidavit production team located in

   15          Georgia?

   16     A.   Yes, ma'am.

   17     Q.   In your office?

   18     A.   Yes, ma'am.

   19     Q.   Now, the note that appears as Exhibit 3 -- you

   20          know documents that Mr. Cummins attached to his

   21          affidavit, specifically the loan request and

   22          credit agreement, identifies the loan program as

   23          the Next Student Undergraduate Loan program.

   24          Correct?

   25     A.   Yes, ma'am.

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    1     Q.   And at the bottom of the page there is a

    2          number -- some sort of identification at the

    3          bottom beginning with AB.06-07.CSX1.              Do you see

    4          where I'm reading?

    5     A.   Yes, ma'am.

    6     Q.   What is that?

    7     A.   AB identifies the lender, and that's Charter One.

    8          06-07 is -- relates to the program year of the

    9          loan.     CSX1 means -- CXS means cosigned; 1 means

   10          by one person.       10DC -- 10 means it's the first

   11          iteration of this set of terms.             DC is the direct

   12          to consumer program.         And then 0206 means

   13          February of 2006.        And that's when these terms

   14          were first put into production, as of February.

   15     Q.   Who created that -- I don't know.             What would you

   16          call it?

   17     A.   Term code.

   18     Q.   Term code, thank you.          Who created that term

   19          code?

   20     A.   I'm uncertain.

   21     Q.   When was it created?

   22     A.   I don't know.

   23     Q.   Looking now at what's marked Deposition

   24          Exhibit 4, which is the affidavit and

   25          verification of account by Alicia Holiday

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    1          submitted to the Portland District Court, you

    2          have been designated by National Collegiate

    3          Student Loan Trust to testify about the subject

    4          matter of this affidavit.           Are you prepared to do

    5          that today?

    6     A.   Yes, ma'am.

    7     Q.   Who is Alicia Holiday?

    8     A.   She was another legal case manager.

    9     Q.   Does she work in your office in Georgia?

   10     A.   Yes, ma'am.

   11     Q.   Do some legal case managers such as Ms. Holiday

   12          just sign affidavits for purposes of summary

   13          judgment and others such as Mr. Cummins sign

   14          affidavits for default judgment?

   15     A.   No, ma'am.

   16     Q.   Does Alicia Holiday still work for Transworld

   17          Systems?

   18     A.   Yes, ma'am.

   19     Q.   How long has she worked there; do you know?

   20     A.   I think she's been about two years also.

   21     Q.   Alicia Holiday says that TSI is the designated

   22          custodian of records for the defendants'

   23          educational loan.        What does that mean, a

   24          designated custodian of records?

   25     A.   We have been designated by the trust or by U.S.

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    1          Bank on behalf of the trust to maintain the

    2          records for the individual loan at issue on

    3          behalf of the trust.

    4     Q.   And what exactly do you do to maintain them?

    5     A.   Well, we have the electronic file that we keep

    6          and keep a running balance of the account,

    7          interest accrual, payments, any notes.                  We also

    8          maintain the actual loan level documents within

    9          our Media Locator that has no destruction policy.

   10          So those are maintained in PDF format.

   11     Q.   Does the no destruction policy only apply to

   12          documents in the Media Locator?

   13     A.   I'm uncertain.

   14     Q.   What does TSI do to ensure the security of the

   15          system?

   16     A.   The Media Locator system?

   17     Q.   Yes.

   18     A.   Well, it's a -- it's an online portal that has

   19          various electronic security in place.                  I'm

   20          uncertain exactly what security level it is.                   But

   21          in order to access it, you have to have a TSI

   22          log-in with a unique password that expires

   23          periodically; and you have to update your

   24          password.

   25     Q.   How many people have access to the database --

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    1          the three databases, AES, CRS, and the Media

    2          Locator?

    3     A.   TSI employees that have access to AES, I would

    4          say between 10 and 20 people maybe.              CRS, I'm not

    5          sure.     It would be more than 20.

    6     Q.   Have you made any notes on this case in the data

    7          system?

    8     A.   I don't think so.

    9     Q.   Were there any notes made by others?

   10     A.   Yes, ma'am.

   11     Q.   Do you recall what those notes said?

   12     A.   Well, Mr. Cummins and Ms. Holiday both noted in

   13          the account that they received an affidavit.                  And

   14          they executed the affidavit -- at that time they

   15          each executed it.

   16                Also, there's notes on the file from our

   17          attorney; and any other collection agency would

   18          also have notes on there.

   19     Q.   When you say our attorney, are you talking about

   20          the Ratchford Law Group?

   21     A.   Yes, ma'am.

   22     Q.   What training did Alicia Holiday have on the

   23          system of record used by Transworld Systems to

   24          enter and maintain loan account records?

   25     A.   So she was trained when she became an employee.

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    1          So she got her own log-in; and then she was

    2          walked through the various screens within the

    3          system, how to update those records, how to look

    4          at various things such as payments, adjustments.

    5     Q.   Do you have personal knowledge of that, or are

    6          you testifying based on your belief that there's

    7          a policy and practice in place that would have

    8          caused that to happen?

    9                MR. SHARTLE:       Objection.     Are you asking

   10          him to answer the question as an individual

   11          or as a representative?

   12    BY MS. DILL:

   13     Q.   In both capacities my expectation would be that

   14          you would testify based on personal knowledge.

   15          Is it your personal knowledge that Ms. Cummins --

   16          excuse me, that Ms. Holiday had training on the

   17          system?

   18     A.   Yes, ma'am.

   19     Q.   How do you know it?

   20     A.   I'm actually involved in portions of the

   21          training.      And she sits in my office, and I have

   22          witnessed, when she was originally employed, her

   23          training and assisted in various portions of it.

   24     Q.   Okay.     And so the system of record that she was

   25          trained on was the system that we have already

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    1          discussed?

    2     A.   Yes, ma'am.

    3     Q.   Does she have access to the AES --

    4     A.   Yes, ma'am, she does.

    5     Q.   Does she have access to Compass and the Media

    6          Locator, too?

    7     A.   Compass is the AES system.

    8     Q.   Okay.     Right.    Thanks.

    9     A.   And Media Locator, yes, ma'am.

   10     Q.   And Ms. Holiday attached to her affidavit

   11          several documents that I have presented to you.

   12          Exhibit 5 purports to be an authorization from

   13          U.S. Bank.      Correct?

   14     A.   Yes, ma'am.

   15     Q.   Now, Exhibit 6 is described by Ms. Holiday in her

   16          affidavit as being a true copy of the loan

   17          request and credit agreement.            Correct?

   18     A.   Yes, ma'am.

   19     Q.   And where did Ms. Holiday retrieve this true copy

   20          of the original loan document from?

   21     A.   Like with Mr. Cummins's affidavit, this was

   22          attached by the affidavit production team.

   23     Q.   Okay.     So is Ms. Holiday's job solely to sign the

   24          affidavit?

   25     A.   No.     Her job is to review the affidavit for

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    1          accuracy; and if all information within the

    2          affidavit is accurate and all exhibits attached

    3          thereto are accurate, then she has the ability to

    4          sign the affidavit.

    5     Q.   And is it, I guess, your testimony that, in fact,

    6          it's an accurate statement that Exhibit 6 is a

    7          true copy of the original loan document?

    8     A.   It appears to be missing a page.

    9     Q.   What page appears to be missing?

   10     A.   The last page of the terms.

   11     Q.   5 of 5?

   12     A.   Yes.    5 of 5 should be a disclosure -- a federal

   13          disclosure.

   14     Q.   Before we continue, I just want to make sure that

   15          that was not a mistake by my office.              So let me

   16          just make sure that --

   17                 MR. SHARTLE:      Can we take -- go off the

   18          record and take a break?

   19                 MR. MCKINLEY:      Sure.

   20                 MS. DILL:     Sure.    Take a break.       Good

   21          idea.

   22                    (A short recess was taken.)

   23     BY MS. DILL:

   24     Q.   Again, looking at Exhibit 6, which was identified

   25          by Alicia Holiday to be a true copy of the loan

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    1          agreement, can you tell from looking at the

    2          document where it was retrieved from?

    3     A.   Not by looking at it.

    4     Q.   Where do you think it was retrieved from?

    5     A.   Well, our business practice when producing an

    6          affidavit would be for the affidavit production

    7          team to pull a copy off of the Media Locator.

    8          So they would pull up the account in Media

    9          Locator, go to the document that identifies the

   10          loan document, and pull that off.             And then

   11          basically when they print, they do a collate

   12          function where -- it's kind of offset printing;

   13          so it will print the affidavit.             Then it will

   14          print the documents.         Then it will print another

   15          affidavit and another document.

   16     Q.   And the Media Locator is a system that is owned

   17          by Transworld Systems.          Correct?

   18     A.   I believe so.

   19     Q.   And does any other company use it?

   20     A.   No, ma'am.

   21     Q.   Only Transworld Systems employees have access to

   22          Media Locator?

   23     A.   To my knowledge, yes, ma'am.

   24     Q.   And how were the loan documents transferred from

   25          the owner to Transworld Systems?

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    1     A.   Well, they were transferred from AES, the

    2          servicer -- the previous servicer.              And it gets

    3          transferred to Transworld Systems in an

    4          electronic file, basically like a zip file that

    5          gets uploaded to Transworld Systems through a

    6          secure site.       And then Transworld Systems goes in

    7          and names those documents, and then we'll upload

    8          them to the Media Locator for the individual

    9          account that the documents pertain to.

   10     Q.   And how do the documents get from the trusts to

   11          AES?

   12     A.   Well, AES gets them at time of disbursement.                  So

   13          before the trust owns the loan right at

   14          disbursement, the either originating bank or a

   15          party on the bank's behalf transfers the

   16          documents to AES who then maintains them while

   17          the loan is being serviced by them.

   18     Q.   And in this particular case, how was the document

   19          trans -- how was the loan document that

   20          Ms. Coffey is alleged to have signed, how was

   21          it -- how did it get from Maine to the Media

   22          Locator?

   23     A.   Well, Ms. Coffey faxed in the document for

   24          processing.       And then --

   25     Q.   Where did she fax it to?

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    1     A.   She faxed it to -- I am uncertain specifically.

    2          It was either to Charter One or a party that

    3          Charter One had a contract with to handle the

    4          origination of their loans.

    5     Q.   Okay.     So you don't know -- sorry.           Bear with me.

    6                On one of them there was a reference to

    7          Merrill Bank.       Well, it will come up.

    8                You don't know in this particular case how

    9          the loan went from Maine to AES, but you believe

   10          it went via the lending bank?

   11                MR. SHARTLE:       Object to the form.

   12     A.   It was faxed to either the lending bank or

   13          someone on their behalf.           The general practice

   14          for these loans where the banks would contract

   15          with a third party to process the incoming loan

   16          applications and facilitate the disbursement of

   17          the loans.      So the business practice would have

   18          been for them to either mail or fax -- in this

   19          case they were faxed -- to either the bank or the

   20          third party on the bank's behalf that the bank

   21          authorized to receive the documents.

   22     Q.   And then how would it get to AES?

   23     A.   So whoever received and facilitated that

   24          disbursement would then send it to AES at time of

   25          disbursement, will send them the electronic data

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    1          to create their electronic records of initial

    2          accounts, and then also will send over the loan

    3          documentation.

    4     Q.   Electronically?

    5     A.   Yes.    Well, electronically in this case since

    6          they were faxed.        If they were -- in the event

    7          that they were actually mailed in and had a

    8          physical wet ink version, then those would have

    9          been mailed to AES to maintain.

   10     Q.   How do you know they were faxed in this case?

   11     A.   They have the fax header on the top indicating

   12          that they were faxed.          And also, if they would

   13          have been mailed in, they would have had a unique

   14          numerical sequence stamped on them.              And that's

   15          the -- that's the way that AES logs them and

   16          stores them and is able to -- it's like a card

   17          catalog essentially.         And then they will pull

   18          them when needed in the future.

   19     Q.   And in this case, did Sarah Thurlow fax five

   20          pages of loan documents?

   21     A.   She did fax five pages, but she did not fax the

   22          same five pages that are attached in your

   23          Deposition Exhibit 6.

   24     Q.   How do you know that?

   25     A.   Well, Ms. Thurlow would have -- or would not fax

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    1          back the terms of the agreement.             She's only

    2          obligated to fax back the signature page.                  And

    3          that's actually just referenced right above her

    4          signature.      It says, just return this page with

    5          proof of income and other information, if

    6          applicable.       And it gives where to fax the

    7          document to.

    8                So when Ms. Thurlow and Ms. McMullen received

    9          the loan packages, they would have received three

   10          loan packages, one being the lender copy, which

   11          is what this is as evidenced right below

   12          Ms. McMullen's signature.           Then they would have

   13          received a borrower copy and a cosigner copy.

   14          And a borrower copy and a cosigner copy are the

   15          signature page with the corresponding terms and

   16          conditions.       The lender copy is just this

   17          signature page.

   18     Q.   And the term code that appears at the bottom of

   19          Deposition Exhibit 6, who put that there?

   20     A.   I'm uncertain.

   21                MR. SHARTLE:       Object to the form.           What

   22          are you referring to?

   23                Do you want to make an exhibit

   24          reference?

   25                MS. DILL:      Exhibit 6, at the bottom

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    1          there's a term code AB.06-07.            We discussed a

    2          similar one on another document.

    3     A.   It was the same code.          It was just on a different

    4          document.

    5     Q.   I'm looking at Bates stamped page 8 compared to

    6          Bates stamped page 16 --

    7                MR. SHARTLE:       Objection.

    8    BY MS. DILL:

    9     Q.   -- after the term code.          And it appears that it

   10          is identical.

   11                MR. SHARTLE:       And I apologize.       Just for

   12          the record, you -- you -- are you referring

   13          to Bates stamped documents?           That's what you

   14          just said?

   15                Where are they Bates stamped?

   16                I apologize.

   17                MS. DILL:      The lower right-hand corner,

   18          the deposition exhibits were Bates stamped by

   19          my office just so we could better keep track

   20          during the conversation.

   21                MR. SHARTLE:       Oh, 16, 15 are you talking

   22          about?

   23                THE DEPONENT:       I thought she said 8, not

   24          16.

   25                MR. SHARTLE:       Okay.

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                                                                                  60

    1                Okay.     I'm sorry.

    2                MS. DILL:      That's okay.      I'm just trying

    3          to understand what all these numbers mean.

    4                MR. SHARTLE:       Yes.

    5     BY MS. DILL:

    6     Q.   And with respect to the term code that appeared

    7          on the Bates stamped page 8, you said you didn't

    8          know what it was; so I assume you don't know what

    9          it was on page 16 as well?

   10     A.   No.     I identified each piece of that previously.

   11     Q.   But you don't know who put it there?

   12     A.   Oh, no, ma'am.

   13     Q.   So it could have been AES?

   14     A.   No, ma'am.

   15     Q.   How -- how do you know that?

   16     A.   Because this document was created prior to AES's

   17          involvement.       AES doesn't get involved until the

   18          loan is actually disbursed.           And the term codes

   19          are put on here when the loan -- when the

   20          document is created and sent to the consumers for

   21          signature.

   22     Q.   Okay.     You -- on page -- it's the second page of

   23          Deposition Exhibit 6, which is Bates stamped

   24          page 17.      On the right-hand side of the page in

   25          paragraph 2 it says that the variable rate

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                                                                                  61

    1          will -- and I'm summarizing now.             It says, won't

    2          exceed the rates allowed by the State of Ohio.

    3          Correct?

    4     A.   Yes, ma'am.       That's what it says.

    5     Q.   And on page 20 of Deposition Exhibit 6, which is

    6          the note disclosure statement, that was also

    7          appended to the Holiday exhibit and filed in

    8          district court, the loan program at the bottom is

    9          identified as the Next Student Undergrad Loan

   10          program.      Correct?

   11     A.   Yes, ma'am.

   12     Q.   Now, looking at Deposition Exhibit 7, is it fair

   13          to say that Deposition Exhibit 7 was presented to

   14          the Court by Ms. Holiday to represent the chain

   15          of ownership of the underlying loan?

   16     A.   I'm sorry.      Can you repeat the question?

   17     Q.   Yes.    Was the purpose of Deposition Exhibit 7

   18          attached to the affidavit of Alicia Holiday to

   19          present to the District Court the chain of

   20          ownership of the loan?

   21     A.   Yes, ma'am.

   22     Q.   And what do you understand Exhibit 7 to be?

   23     A.   So Exhibit 7 actually encompasses a couple

   24          different documents, the first of which is a pool

   25          supplement document.         And this document is

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    1          between Charter One Bank and National Collegiate

    2          Funding with First Marblehead Corporation also in

    3          there whereby this agreements takes a pool of

    4          loans that were originated by Charter One Bank

    5          and sells, assigns, and transfers that pool of

    6          loans to National Collegiate Funding as of

    7          September 28, 2006.         And that pool of loans is

    8          identified as schedule 2, being a list of all the

    9          individual loans within the pool.

   10                And then Exhibit -- Deposition Exhibit 7,

   11          Bates No. 26 is an excerpt of the schedule 2

   12          showing Ms. Thurlow's individual loan being

   13          included within that pool.

   14     Q.   The pool supplement that has been marked

   15          Deposition Exhibit 7 also identifies note

   16          purchase agreements that it pertains to.

   17          Correct?

   18     A.   Yes, ma'am.

   19     Q.   And of the note purchase agreements that are

   20          listed on schedule 1 -- and now, I'm looking at

   21          the Bates stamped pages 24 and 25 -- identify for

   22          me, please, which note purchase agreement would

   23          include the notes that are the subject of this

   24          case?

   25     A.   This would be one, two, three, four, five, six --

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    1          the sixth bullet point down on Bates number 24,

    2          note purchase agreement dated May 15, 2002, by

    3          and between FMC and program lender for Next

    4          Student.

    5     Q.   Okay.     So the loan at issue was allegedly dated

    6          in 2006.      Correct?

    7     A.   Yes, ma'am.

    8     Q.   But you're saying that the note purchase

    9          agreement dated May 15, 2002, encompassed it?

   10     A.   Encompassed the loan program, not the individual

   11          loan.

   12     Q.   The -- so the TERI guaranteed Next Student loan

   13          program is --

   14     A.   I actually believe those two are the same

   15          agreement.

   16     Q.   The loan program identified on the note is Next

   17          Student Undergraduate Loan.           Is it your testimony

   18          that the Next Student Undergraduate Loan program

   19          is the same as the TERI Guaranteed Next Student

   20          Loan program?

   21     A.   It falls within the Next Student Loan program.

   22          So the Next Student Loan program encompasses both

   23          undergraduate and graduate loans for Next

   24          Students.      So it's the Next Student Loan program,

   25          and the undergraduate portion falls within it.

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    1     Q.   On Deposition Exhibit 7 at bottom there is a date

    2          8 --

    3                 MR. SHARTLE:      Bottom of what?

    4                 MS. DILL:     The bottom of the page.

    5                 MR. SHARTLE:      What page?

    6                 MS. DILL:     Page 20 -- it's Bates stamped

    7          page 22.

    8    BY MS. DILL:

    9     Q.   And there is a date 8/22/2011 -- or let me ask

   10          you that.      Is that a date?

   11     A.   Yes, ma'am.

   12     Q.   And what does that date relate to?

   13     A.   That appears this is a filing copy that was filed

   14          with the SEC.       And that date appears to be the

   15          date that this individual scan of the document

   16          was printed from SEC -- from the SEC.

   17     Q.   Who printed it?

   18     A.   I'm uncertain.

   19     Q.   Who put that date there?

   20     A.   That date would have been put there by the

   21          printing system.

   22     Q.   Whose printing system?

   23     A.   I don't know.

   24     Q.   Where do you think Alicia Holiday got this

   25          document from?

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    1     A.   This document saved in our system on one of our

    2          servers for the various pool supplements.

    3     Q.   Is the same document applied to every case?

    4     A.   No, ma'am.

    5     Q.   So it's your testimony that the date August 22,

    6          2011, is the date that the document was retrieved

    7          from the system?

    8                MR. SHARTLE:       Objection to form.        What

    9          system are you referring to?

   10    BY MS. DILL:

   11     Q.   Tell me, again, what you know about the date at

   12          the bottom of Exhibit 7 Bates stamped page 22.

   13     A.   That date is there from when this particular

   14          document was printed from the SEC's website.

   15     Q.   And I'm not trying to trip you.             I just don't

   16          remember it.       Did you tell me who printed it?

   17     A.   No, ma'am.

   18     Q.   Do you know if it was an employee of Transworld

   19          Systems?

   20     A.   No, it was not.

   21     Q.   How do you know that that's the date it was

   22          printed?

   23     A.   That was discussed back with First Marblehead in

   24          or around 2012.

   25     Q.   What was discussed?

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    1     A.   What that date was.

    2     Q.   How do you know that?

    3     A.   Because I was the one that had the discussion.

    4     Q.   In 2012 were you the senior litigation paralegal

    5          for Transworld Systems?

    6     A.   No, for NCO -- yes, NCO Financial Systems.

    7     Q.   And what was -- you worked for NCO Financial

    8          Systems in 2012?

    9     A.   Yes, ma'am.

   10     Q.   And at that time you negotiated with First

   11          Marblehead?

   12                MR. SHARTLE:       Objection, mischaracterization.

   13    BY MS. DILL:

   14     Q.   You had a conversation with First Marblehead?

   15     A.   Yes, ma'am.

   16     Q.   And who at First Marblehead did you speak with?

   17     A.   Back then was Matt Coletti.           He was their

   18          in-house counsel.        He was a lawyer for them.

   19     Q.   And what did you say to him?

   20     A.   Oh, pertaining to this, I asked him why there was

   21          a date on the bottom right of the document.                 And

   22          he explained to me that's when it was retrieved

   23          from the SEC site.         And when it was retrieved and

   24          it was printed, the printer, software, or

   25          whatever he was using to print it, automatically

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    1          tagged a date to it.

    2     Q.   If you look at the Alicia Holiday affidavit,

    3          which is Exhibit 4, and paragraph 10 which

    4          appears at Bates stamped page 11, it says that no

    5          payment had been made since 8/22/11.              Did I read

    6          that correctly?

    7     A.   That's what it states.

    8     Q.   So is it your testimony that it's just a

    9          coincidence that the document was printed on the

   10          same day that the defendant in this case

   11          allegedly made her last payment?

   12     A.   Yes, ma'am.

   13     Q.   When you had a conversation with Mr. Coletti at

   14          First Marblehead Corporation -- did I get that

   15          right?

   16     A.   Yes, ma'am.

   17     Q.   -- what was the purpose of the conversation?

   18     A.   Well, actually, we have had many conversations

   19          prior to NCO's involvement as servicer, defaulted

   20          loans of First Marblehead Educational Resources,

   21          which was a subsidiary of First Marblehead

   22          Corporation.       So throughout there was a

   23          transition period when they were servicing and

   24          handing it off to NCO Financial Systems.                So I

   25          had, over the course of more than a year,

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    1          multiple conversations with various employees at

    2          First Marblehead pertaining to the NCSLT, the

    3          trust structures, the background because they

    4          also played portions of the origination process

    5          and the -- back to the note purchase agreement,

    6          which we just discussed.           So I had very many

    7          conversations with them just relating to the

    8          trusts.

    9     Q.   Did First Marblehead Corporation ever service

   10          this loan?

   11     A.   First Marblehead Education Resources serviced the

   12          loan for a short period of time.             It would have

   13          been serviced from April 2, 2012, to October 31,

   14          2012, at which point as of November 1, 2012, they

   15          transferred to NCO Financial Systems.

   16     Q.   Now, with respect to schedule 2 of the pool

   17          supplement that Ms. Holiday says was redacted,

   18          who -- who redacted schedule 2?

   19     A.   This would have been redacted by a member of our

   20          media team.

   21     Q.   Do you know who did it?

   22     A.   No.    Not on the individual.

   23     Q.   Did you say media?

   24     A.   Media.

   25     Q.   Who is on the media team?

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    1     A.   Oh, we have got numerous employees.

    2     Q.   When did the media team redact schedule 2?

    3     A.   I can't tell by looking at the document.                It

    4          would be in our system.

    5     Q.   Do you know where the media team employee

    6          responsible for redacting schedule 2 in this case

    7          worked?

    8     A.   No, ma'am, I mean, since I don't know who

    9          redacted it.

   10     Q.   Do you know how it was redacted?

   11     A.   Electronically.        It's through a PDF software

   12          where a black box is drawn and then printed to

   13          PDF so the black box can't be moved or altered so

   14          you can't see any of the data underneath it.

   15     Q.   Where is the original schedule 2 located?

   16     A.   It's saved on our server.

   17     Q.   In which program?

   18     A.   Can you please clarify that?

   19     Q.   Of the systems that we have discussed for

   20          maintaining electronic records that we talked

   21          about, CRS, the --

   22     A.   Okay.

   23     Q.   -- FACS, and the Media Locator, where, if any of

   24          those, is the schedule 2 maintained?

   25     A.   None of those.       It's saved on our server or one

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    1          of our servers.

    2     Q.   On Transworld Systems' server?

    3     A.   Yes.

    4     Q.   How did it get to Transworld Systems' server?

    5     A.   From First Marblehead.

    6     Q.   First Marblehead Corporation or First Marblehead

    7          Data Services or First Marblehead

    8          Education-something?

    9     A.   Good.     Corporation.

   10     Q.   Did First Marblehead Corporation transfer the

   11          original schedule 2 directly to Transworld, or

   12          did it go through various parties before your

   13          company got it?

   14     A.   Well, it went directly to NCO.

   15     Q.   And then from NCO it went to --

   16     A.   Transworld.

   17     Q.   And I'm still a little unclear.             Did Transworld

   18          buy NCO?

   19     A.   No.

   20                 MR. SHARTLE:      Objection.     That's outside

   21          the scope of the notice.

   22     A.   No.

   23     Q.   How is it that Transworld then became the owner

   24          of the databases and the various records?

   25     A.   So as previous --

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    1                MR. SHARTLE:       Objection, calls for a

    2          legal conclusion outside the scope of the

    3          notice.

    4     A.   As previously discussed, EGS, the parent company

    5          to NCO, took portions of NCO's business along

    6          with other portions of business that EGS may have

    7          had ownership of and sold those portions of

    8          business under the name Transworld Systems.                 One

    9          of those portions of business was the NCSLT, the

   10          trust servicing business.

   11     Q.   What do you mean under the name of Transworld

   12          Systems?

   13     A.   Well, Transworld Systems was another company also

   14          owned by EGS.       So they took Transworld's name

   15          along with their business line, added to it some

   16          of NCO's business line, and sold it off as

   17          Transworld Systems as a separate company.

   18     Q.   So -- and who did they sell it to?

   19     A.   A private equity firm.

   20     Q.   Which one?

   21     A.   Platinum Equity.

   22     Q.   Does Platinum Equity own Transworld?

   23     A.   Yes, ma'am.

   24     Q.   Does anyone own Platinum Equity?

   25     A.   I don't know.

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    1     Q.   Where is Platinum Equity located?

    2     A.   Beverly Hills, California.

    3     Q.   And does Platinum Equity wholly own Transworld?

    4                MR. SHARTLE:       Objection, outside the

    5          scope of the notice.         Calls for a legal

    6          conclusion.

    7     A.   I'm not certain.

    8     Q.   Do you know if anyone else claims ownership of

    9          Transworld Systems?

   10     A.   Not to my knowledge.

   11     Q.   So getting back to the excerpt of schedule 2 --

   12                MS. DILL:      And the copies didn't come

   13          out very well, so I did ask to get a couple

   14          of extra made.       I don't know if they -- I

   15          don't know where they are, though.

   16                MR. SHARTLE:       Do you mind -- actually, I

   17          apologize.      I know we just took a break.            Can

   18          we take one more break?

   19                MS. DILL:      Okay.    Oh, sure.     No problem.

   20                    (A short recess was taken.)

   21     BY MS. DILL:

   22     Q.   Okay.     So looking at the excerpt of schedule 2 to

   23          the pool supplement attached to the affidavit of

   24          Alicia Holiday, who attached the supplement to

   25          the Holiday affidavit?

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    1     A.   The would have been our media/affidavit

    2          production team.

    3     Q.   And do you know if what appears as the excerpt in

    4          the pool supplement as Bates stamped page 26 is

    5          an identical copy of the actual schedule 2 that

    6          was attached to the pool supplement?

    7     A.   It's not an identical copy.           It's formatted to

    8          fit onto a page and easily read.             All the data

    9          within it is an identical copy of the data

   10          contained within the original schedule 2.

   11     Q.   And where is the original schedule 2?

   12     A.   That's saved on our servers -- TSI's servers.

   13     Q.   Have you checked to confirm whether or not the

   14          information, in fact, is the same, what appears

   15          on page 26 and what is on the server?

   16     A.   Yes, ma'am, I have.

   17     Q.   And is it, in fact, identical?

   18     A.   Yes, ma'am.

   19     Q.   So when you looked at the original schedule 2,

   20          what does it look like?

   21     A.   Well, the original schedule 2 is actually -- it's

   22          going to look just like this first line.                And

   23          then the second line is just going to be next to

   24          it.    It's just going to be one line of data as

   25          opposed to it being broken down into five lines

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    1          here.

    2                And it's also going to contain other loans

    3          within the schedule.

    4     Q.   How many loans made up schedule 2?

    5     A.   For this trust, I'm uncertain of.

    6     Q.   Who created schedule 2?

    7     A.   Schedule 2 was created with Charter One Bank and

    8          First Marblehead Corporation.

    9     Q.   Who put the data in this form for purposes of

   10          attaching it to the Holiday affidavit?

   11     A.   Our media department.

   12     Q.   Why is the media department putting together loan

   13          documents for litigation?

   14     A.   Part of their job function is to put together

   15          loan documents upon request, regardless of what

   16          the source of the request is, whether it's

   17          litigation or not.

   18     Q.   How big is the media department at Transworld

   19          Systems?

   20     A.   Actually, I don't know.

   21     Q.   Where is it located?

   22     A.   The -- most of the team is located in Norcross,

   23          Georgia.

   24     Q.   How do you know that the schedule 2 that you have

   25          on the Transworld Systems server is the original?

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    1     A.   When we received it from First Marblehead, we had

    2          discussions about what the document was and what

    3          it contained.       And they made the representation

    4          that this was the -- or these were, because

    5          there's multiple schedules depending on what

    6          trust, what loan program, what lender -- that

    7          these were the original schedules.

    8     Q.   When did those discussions first take place in

    9          First Marblehead?

   10     A.   On or around 2012.

   11     Q.   And were you present in those discussions?

   12     A.   Yes, ma'am.

   13     Q.   And who else was present?

   14     A.   Matt Coletti.

   15     Q.   He's the lawyer, in-house counsel?

   16     A.   Yes, ma'am.

   17     Q.   Does he still work for First Marblehead?

   18     A.   No, ma'am; she doesn't -- he does not.

   19     Q.   Where does he work now?

   20     A.   I don't recall.

   21     Q.   Have you maintained a friendship with him?

   22     A.   We're connected on LinkedIn, but we don't have

   23          ongoing conversations.

   24     Q.   Did he represent to you personally that

   25          schedule 2 was the original schedule 2?

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    1     A.   Yes, ma'am.

    2     Q.   Orally or in writing?

    3     A.   Orally.

    4     Q.   Are there any other indications of authenticity

    5          other than Mr. Coletti's representation to you

    6          orally that this, in fact, was the original

    7          schedule 2?

    8     A.   Well, the data contained within the schedule

    9          matches up with data that was -- for, like,

   10          individual loans it matches up with, like, the

   11          balance of the loan as of the date that the pool

   12          was securitized and transferred because if this

   13          was made at some point after, the balances would

   14          be different due to accrued interest.

   15     Q.   You don't know that though.           Right?

   16                You're guessing?

   17                MR. SHARTLE:       Objection.

   18     BY MS. DILL:

   19     Q.   Are you saying that you know it's true that

   20          the amounts as presented in schedule 2 are

   21          correct because you matched up every loan with

   22          schedule 2?       You went through and checked?

   23     A.   Not every single loan, but every loan that I have

   24          looked at within schedule 2, within the various

   25          schedule 2's for the various trusts.

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    1     Q.   In this particular case when Alicia Holiday

    2          signed the affidavit, had she compared?

    3     A.   I'm uncertain.

    4                MR. SHARTLE:       Object to the form.

    5          Compared what?

    6     BY MS. DILL:

    7     Q.   I think we have already established that what is

    8          the excerpt of schedule 2 that appears on Bates

    9          stamped page 26 is not, in fact, the excerpt.

   10          Right?

   11                MR. SHARTLE:       Object to the form.

   12     BY MS. DILL:

   13     Q.   Your testimony was that it contains the

   14          information, but it's been altered the way it's

   15          presented.      Is that fair?

   16     A.   It's been reformatted, not altered.

   17     Q.   It's been reformatted.          And is it fair -- I think

   18          you said -- described it in that if -- rather

   19          than those blocks being stacked up, if they were

   20          all just stretched out in a line, that's what we

   21          would see on the computer screen?

   22     A.   Yes, ma'am.

   23     Q.   Okay.     Other than the computer screen, is there

   24          actually a physical schedule 2 someplace, a piece

   25          of paper?

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                                    1966
                                                                                  78

    1     A.   Not to my knowledge.

    2     Q.   Okay.     And the schedule 2 was created by First

    3          Marblehead?

    4     A.   And in this case Charter One Bank.

    5     Q.   And Charter One Bank.          And at the time that First

    6          Marblehead resigned as the servicer -- is that

    7          fair?

    8     A.   That's a fair statement.

    9     Q.   -- it transferred schedule 2 to NCO?

   10     A.   Yes, ma'am.

   11     Q.   Who transferred it to Transworld?

   12     A.   Essentially.

   13     Q.   Is -- when it was transferred -- when schedule 2

   14          was transferred to NCO, it was essentially an

   15          electronic file that you just send out on an NCO

   16          data server?

   17     A.   First Marblehead gave us an electronic file

   18          consisting of all the schedules.

   19     Q.   Okay.     And then --

   20     A.   And we saved that onto our server at NCO.                 And

   21          then when Transworld became in place to service

   22          the loan, that file containing other schedules

   23          did not change.        That stayed in the same location

   24          because that part of the business was wholly sold

   25          to Transworld.       So there was no additional

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                                    1967
                                                                                  79

    1          transfer.      Like, the file did not move anywhere,

    2          just the name of the owner essentially changed.

    3     Q.   The server is the same?

    4     A.   Yes, ma'am.

    5     Q.   And also attached to the Holiday affidavit as

    6          part of her deposition exhibit -- or strike that.

    7                Also attached to the Holiday affidavit as

    8          Exhibit C, which in this deposition is Exhibit 7,

    9          includes portions of a deposit and sale

   10          agreement.      Correct?

   11     A.   I wouldn't say it's portions of it.              It appears

   12          to be the document in its totality.

   13     Q.   And where on the Schedule A is the pool

   14          supplement that is related to this case?

   15     A.   You see the third bullet point on the Bates No.

   16          33.

   17     Q.   And which program?

   18     A.   This is the -- they identify it here as the Next

   19          Student Alternative Loan program.

   20     Q.   So you're saying that the Next Student

   21          Alternative Loan program is different or the same

   22          as the TERI Guaranteed Next Student Loan program?

   23     A.   Yes, ma'am.

   24     Q.   And which student loan purchase agreement of the

   25          ones that appear Bates stamped 35 and 36 and 37

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                                    1968
                                                                                   80

    1          relates to this case?

    2     A.   On page Bates No. 36, the second bullet point.

    3     Q.   And that's loans originated as Charter's Next

    4          Student Alternative Loan program?

    5     A.   Yes, ma'am.

    6     Q.   So is it your testimony that the Next Student

    7          Alternative Loan program is the same as the Next

    8          Student -- I don't know what that other one is --

    9          the other two that we just identified?

   10     A.   The Next Student Loan program and TERI Guaranteed

   11          Next Student.

   12     Q.   Those are all the same?

   13     A.   Yes, ma'am.

   14     Q.   Turning now to Deposition Exhibit 8, which was

   15          attached to the Holiday affidavit in support of

   16          the trust's motion for summary judgment, what is

   17          the document that appears to be Bates stamped

   18          page 39?

   19     A.   It's actually Bates stamped 39 through 43 is all

   20          the same document.         This is loan financial

   21          activity which is from an AES system.                  And it's a

   22          financial accounting of the loan from the time --

   23     Q.   Okay.     I'm sorry.     I apologize for interrupting

   24          you.    But I just realized I forgot to ask you,

   25          after making the big stink of making the clear

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                                    1969
                                                                                  81

    1          copies, what these things meant.

    2                So can we -- before we move on to that, can

    3          we go back to Bates stamped 26, which is the

    4          schedule 2.       Sorry about that.

    5     A.   That's okay.

    6                MR. SHARTLE:       I didn't -- for the

    7          record, I didn't think you were making a big

    8          stink.

    9     A.   Yes, ma'am.

   10     Q.   Okay.     So what is the -- what is the box that

   11          says "GUARREF" with the number 04034217 -- what

   12          is that?

   13     A.   That actually identifies the individual loan

   14          number.     So if you look in the top left corner of

   15          the note disclosure statement, that number will

   16          appear there as well as on the bottom, about

   17          center of the signature page of the promissory

   18          note.     That number will also appear there.

   19     Q.   And what's the Tier refer to?

   20     A.   I don't recall actually.

   21     Q.   What about Repay Type?

   22     A.   That identifies what the repayment type was.                  In

   23          this case DP means a deferred payment, so a full

   24          deferral.

   25     Q.   And the box underneath that, what is the 9.5

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                                    1970
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    1          percent?

    2     A.   Can I see your cleaner copy?

    3                That's one of the boxes I couldn't read.

    4     Q.   This is hard to read, too.

    5                MR. SHARTLE:       If you want, you can have

    6          that.

    7                MS. DILL:      Oh, thanks.

    8     A.   I don't recall.

    9     Q.   What about the box to the right of it, 4A

   10          percent, 2.75?

   11     A.   I don't recall that one either.

   12     Q.   Marketer Fee Lender, .5?

   13     A.   That's how much percentage the marketer fee was.

   14     Q.   Who was the marketer?

   15     A.   Next Student.

   16     Q.   What's Recon TOT DISB, and then it says

   17          underneath 11,000?

   18     A.   That's the total disbursement to include any

   19          origination fee.

   20     Q.   And what's the Recon Net Disbursement?

   21     A.   That's just the disbursement amount, the actual

   22          funds that were advanced to the consumers.

   23     Q.   What is the recon prefix?           Recon what?

   24                Is it -- reconciliation, is that what it is?

   25     A.   Yes, ma'am.

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                                    1971
                                                                                  83

    1     Q.   Okay.     And the -- at the bottom, the Marketing

    2          Fee Lender, is that Charter One?

    3     A.   Yes, ma'am.

    4     Q.   What's the DMI Reimburse; do you know?

    5     A.   I don't recall.

    6     Q.   Fee Lender goes to Charter One?

    7     A.   Yes, ma'am.

    8     Q.   What about Recon Original Fee to Bank?

    9     A.   That's also to Charter One.

   10     Q.   So according to schedule 2, does First Marblehead

   11          make any money on this loan?

   12     A.   I'm uncertain.

   13     Q.   Does it appear, based on your experience as the

   14          senior litigation paralegal and having been

   15          involved in collections for several years, that

   16          anyone other than Charter One is making money off

   17          the loan?

   18     A.   I'm uncertain.

   19     Q.   Okay.     Now, looking at Deposition Exhibit 8 --

   20     A.   Here you go.

   21     Q.   Thanks.

   22                You started to tell me that Deposition

   23          Exhibit 8 is a document that was created by AES?

   24     A.   Yes, ma'am.       These are actually screen prints

   25          from AES's system of record, the Compass system.

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                                    1972
                                                                                  84

    1          And this document, the loan financial activity,

    2          is the financial activity of the loan from the

    3          time the loan was originally disbursed all the

    4          way until the time that it was defaulted -- and

    5          the document actually goes in reverse order.                  So

    6          on page 5 of 5 you will see the disbursement.

    7          And then you work your way back through time back

    8          to 1 of 5 where you see the charge-off and

    9          default of the loan.

   10     Q.   When was this document created?

   11     A.   Well, this was a screen print from the system.

   12          And the screen print was printed on May 20 of

   13          2016.

   14     Q.   Was the document created -- when was the first

   15          time the document -- strike that.

   16                When was the document first created?

   17     A.   Well, this was printed out of AES's system on

   18          May 20, 2016.       The entries were input into

   19          AES's system at the time that they are noted

   20          to be.

   21     Q.   How do you know that?

   22     A.   That's from my training with AES.

   23     Q.   They told you that?

   24     A.   Yes, ma'am.

   25     Q.   And when did you have training with AES?

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                                    1973
                                                                                   85

    1     A.   Well, it's been ongoing training beginning in or

    2          around about October of 2012.

    3     Q.   And where does the training take place?

    4     A.   Teleconference.

    5     Q.   How many teleconferences have you had?

    6     A.   More than 50.

    7     Q.   So you're willing to swear under oath that you

    8          have personal knowledge that at the time, for

    9          instance, on July 24, 2006, an employee of AES

   10          made an entry in the database regarding this

   11          loan?

   12     A.   Well, that's the disbursement; so that wouldn't

   13          have been an individual employee.             That was when

   14          the electronic data was sent over from the

   15          originator and put into AES's system.                  That's a

   16          systematic process, not an individual employee

   17          keying in that.

   18     Q.   Okay.     Is it fair to say though that the

   19          information that is contained in this record

   20          was input by several individuals over time?

   21     A.   Yes, ma'am.       At the time that each transaction

   22          was noted to be.

   23     Q.   Okay.     And you're relying on the transaction at

   24          face value.       There is nothing --

   25                MR. SHARTLE:       Object to the form.

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                                    1974
                                                                                  86

    1    BY MS. DILL:

    2     Q.   Is there any way to confirm that, in fact -- for

    3          instance, that on August 22, 2011, a payment was

    4          made?

    5     A.   Yes, ma'am.       Actually, when you go into AES's

    6          system, you can pull up the individual

    7          transactions.       So you can go into transaction

    8          No. 9, and it launches the payment screen.                 And

    9          it says who made the payment, how the payment was

   10          made, whether it was web pay or check or whether

   11          it was through a third-party agency.              It gives

   12          the batch number of that payment.

   13                And also, usually with multiple loans,

   14          payments are allocated between the loans; so it

   15          will give the total payment amount, not just the

   16          amount that was applied to this individual loan.

   17     Q.   And is that information that you have access to

   18          as an employee of Transworld Systems?

   19     A.   Yes, ma'am.

   20     Q.   So the document that is Exhibit 8 in this

   21          deposition, which was Exhibit D attached to the

   22          Holiday affidavit, is it a summary of information

   23          that's contained in the database or --

   24     A.   The -- this is the financial record of the

   25          account from the time it was disbursed until the

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                                    1975
                                                                                  87

    1          time it was defaulted.          These are exact screen

    2          prints from AES's system.

    3     Q.   Okay.

    4     A.   If you log into AES's system and you go to their

    5          financial screen, this is exactly what you will

    6          see.

    7     Q.   Other than your ability to see it, do you have

    8          any -- could you go in and change these numbers?

    9     A.   No, ma'am.

   10     Q.   And you don't know who it was at AES that put in

   11          the data.      Correct?

   12     A.   No, ma'am.

   13     Q.   And you don't know when they did it?

   14     A.   Well, they did it at the time that each

   15          individual transaction was logged with the

   16          exception of the system transactions where the

   17          system would put those in.

   18     Q.   I understand that there's dates that appear on

   19          the document; but I'm saying as you sit here

   20          today, do you have personal knowledge that the

   21          information was put into the system on the date

   22          that it's indicated?

   23                 MR. SHARTLE:      Objection, asked and

   24          answered.      Now, you're arguing with him.

   25     A.   Yes, ma'am.

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                                    1976
                                                                                  88

    1     Q.   How is it that you know on April 12 -- excuse me,

    2          on April 4, 2012, an employee of AES, other than

    3          looking at this document, entered the data into

    4          the system?

    5     A.   Well, based on the way their system is set up,

    6          they have to -- anytime that a transaction is

    7          logged, they have to note it.            They can't

    8          backdate it or forward-date it.             It's dated at

    9          the time that that transaction is made in the

   10          system.

   11                 That transaction that you referenced is

   12          another system transaction.

   13     Q.   And you know this because an AES employee told

   14          you?

   15     A.   Yes, ma'am.

   16     Q.   And you were trained on a telephone conference

   17          about the system?

   18     A.   Yes, ma'am.

   19     Q.   Why was the document printed on May 20, 2016?

   20     A.   It was requested.

   21     Q.   By whom?

   22     A.   I don't know.

   23     Q.   Did anything happen in May of 2016 that you're

   24          aware of with relation to this particular case

   25          that would suggest why the document was printed

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                                    1977
                                                                                  89

    1          then?

    2     A.   I can't state with certainty without looking at

    3          the actual account record.

    4     Q.   Now, the document at the top of the page says

    5          AES/PA.     And is it fair to say that AES is

    6          American Education System?

    7     A.   Services.

    8     Q.   American -- thank you.          American Education

    9          Services.

   10                And you are not an employee of American

   11          Education Services; is that correct?

   12     A.   That is correct.

   13     Q.   And you don't have any control over their system

   14          of data management.         Correct?

   15     A.   I have no ability to change or alter their

   16          system, only view.

   17     Q.   Continuing to look at Deposition Exhibit 8 on

   18          Bates stamped page 39, where it says loan

   19          program, what's ALPLM; do you know?

   20     A.   It's an Alternative Loan Program.

   21     Q.   What does that mean?

   22     A.   AES services many different loans.              Alternative

   23          would be their private loans.            They also service

   24          federal loans, which would have a different

   25          program identified.

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                                    1978
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    1     Q.   And to the right of the loan program entry it

    2          says own, and then there's a number, and then

    3          NCT.    What's that mean?

    4     A.   I don't recall.

    5     Q.   Do you believe that NCT refers to National

    6          Collegiate Trust?

    7     A.   I can't speculate, but that's a fair assumption.

    8     Q.   What about where it says guarantor, TERI/DTC;

    9          what's DTC?

   10     A.   Direct to consumer.

   11     Q.   What does that mean?

   12     A.   The loan was issued directly to the consumer.

   13     Q.   At the time -- does this record indicate to you

   14          that it was printed by Transworld System in

   15          connection with producing the Holiday affidavit?

   16     A.   Yes, ma'am.

   17     Q.   And would that have been in May of 2016?

   18     A.   Yes, ma'am.

   19     Q.   And at the time the document states that the

   20          principal balance owed is zero.             Correct?

   21     A.   As of November 4, 2012, it identifies principal

   22          balance as zero that's owed to AES.

   23     Q.   The document does not say that the principal

   24          balance is owed to AES; does it?

   25     A.   No, the document does not.           But the document --

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                                    1979
                                                                                  91

    1          part of the charge-off process is AES is no

    2          longer servicing the loan; so they charge it

    3          off and wipe off the balance in their system

    4          because they're no longer servicing the loan,

    5          and they're no longer owed money.             And that

    6          charge-off balance, which is identified as

    7          $15,786.39, then gets transferred to the

    8          post-default servicer.

    9     Q.   So the $15,786.39 isn't the balance that's owed

   10          on the loan is your testimony; it's the balance

   11          that would be owed to AES?

   12     A.   Well, that was the balance of the loan at the

   13          time of charge-off that AES was servicing.

   14     Q.   How do you know that?

   15     A.   Can you rephrase that?

   16     Q.   This is a document that was created by AES.

   17          You're not an employee of AES.            You have no

   18          ability to alter the document.            How is it -- why

   19          do you believe that where it says principal

   20          balance owed of zero, that refers to the balance

   21          owed to AES and not Sarah Thurlow?

   22                MR. SHARTLE:       Objection.     You have

   23          already asked the witness a number of times

   24          how he has personal knowledge of this, and

   25          he's explained it to you multiple times.

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                                    1980
                                                                                  92

    1    BY MS. DILL:

    2     Q.   You can answer the question.

    3     A.   So when AES charges off a loan, they no longer

    4          are servicers; so they no longer have the ability

    5          to collect on any balance owed to their client,

    6          in this case National Collegiate Student Loan

    7          Trust 2006-3.       They take the balance that's owed

    8          at that time of charge-off and then wipe it off

    9          of their system because they are not able to

   10          collect on it anymore because their contractual

   11          obligation on the individual loan is thereby void

   12          because the loan charged off.            That balance that

   13          they charged off, in this case $15,786.39, was

   14          then transferred, part of the electronic file

   15          that we discussed previously to the post-default

   16          servicer.      In this case it would have been

   17          transferred to First Marblehead Education

   18          Resource.

   19     Q.   What does it mean that AES charged off the loan?

   20     A.   So when the loan goes, in this case, delinquent

   21          for a period of time, the loan then gets

   22          accelerated -- the balance gets accelerated.                  So

   23          any interest that's due and owing is then

   24          capitalized into the owing principal to form the

   25          new principal, and then the loan is then charged

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    1          off and made fully due and owing.             It's no longer

    2          in the installment plan as previously -- as it

    3          was previously, whereby the consumer could make

    4          monthly payments.        The loan is accelerated and

    5          fully due and owing immediately.

    6     Q.   And who made the decision to charge off the loan

    7          in April of 2012?

    8     A.   These -- the decision is not made by any

    9          individual person.         They're contractually laid

   10          out for various instances that would rise to

   11          charge off a loan.         In this case it was a period

   12          of delinquency.

   13     Q.   So that the terms of the contract that Sarah

   14          Thurlow signed dictated when the loan would be

   15          charged off.       Is that what you're saying?

   16     A.   The terms do specify default, not charge-off.

   17          The charge-off terms are contractually between

   18          the servicer.

   19     Q.   In this case who is the servicer?

   20     A.   At this time it was AES.

   21     Q.   And who -- who was the -- who was AES contracting

   22          with?

   23     A.   I'm uncertain.

   24     Q.   So is -- and I'm not trying to argue.                  Is it fair

   25          to say you don't know who decides when a loan is

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                                    1982
                                                                                  94

    1          charged off?

    2                 MR. SHARTLE:      Objection, asked and

    3          answered.

    4     BY MS. DILL:

    5     Q.   Do you know in this particular case what

    6          organization or person decided in April of 2012

    7          to charge off $15,786.39?

    8     A.   The decision was made due to the delinquency.

    9          It's programmed.        Once it reaches a period of

   10          delinquency, the loan automatically gets cued up

   11          for charge-off.

   12     Q.   So which system is that that cues up the

   13          discharge -- or the charge-off date?

   14     A.   AES.

   15     Q.   Do you believe that AES system of record keeping

   16          is trustworthy?

   17     A.   Yes, ma'am.

   18     Q.   And do you rely on representations made by AES

   19          with respect to the loan transactions that you

   20          are responsible for managing?

   21                 That was a really bad question.            Let me ask

   22          it again.

   23     A.   Please.

   24     Q.   Is there any reason for you to doubt the

   25          trustworthiness of information provided by AES?

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                                    1983
                                                                                  95

    1     A.   No, ma'am.

    2     Q.   Also on page -- Bates stamped page 39 there was

    3          the charge-off -- well, let me ask you -- strike

    4          that.

    5                Where it says -- on the line 2 next to the

    6          date April 2, 2012, it says, $15,786.39; and then

    7          it's CR.      You're saying that CR stands for

    8          charge-off?

    9     A.   I did not say that.

   10     Q.   Does CR stand for charge-off?

   11     A.   No, ma'am.

   12     Q.   Does CR stand for credit?

   13     A.   Yes, ma'am.

   14     Q.   And does it appear, based on looking on Bates

   15          stamped page 39, that, in fact, there was a

   16          credit of $15,786.39 on April 2, 2012?

   17     A.   There is a credit adjustment, like I said, that

   18          AES wipes off the balance of their account, which

   19          triggers a credit.

   20     Q.   So you're -- a credit adjustment, not a credit?

   21                Is charge-off and credit adjustment the same

   22          thing?

   23     A.   The term charge-off carries other processes that

   24          we discussed, such as accelerating the loan, the

   25          capitalization of the interest.

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                                    1984
                                                                                  96

    1     Q.   Is there a different abbreviation for charge-off

    2          in the AES system of record keeping?

    3     A.   No.     The -- the CR means credit.          But it's the

    4          transaction type, the 1030A, that means

    5          charge-off.

    6     Q.   And what does transaction type above that, 5003A,

    7          mean?

    8     A.   That's a credit of any fees that were due and

    9          owing at time of charge-off.            So all those 2601A

   10          that you see previous, those are all late fees

   11          for failure to make payment.            So the 5003A, the

   12          credit in the amount of $23.02, is the summation

   13          of all those late fees.

   14     Q.   And is it your testimony that on April 2, 2012,

   15          the owner of the note at that time was not paid

   16          $15,786.39 or some amount close to that?

   17     A.   That is correct.

   18     Q.   What is the code -- the transaction type 101C --

   19          1010C?

   20     A.   That's a payment by borrower.

   21     Q.   And next to the payment by borrower there is also

   22          CR.     Correct?

   23     A.   Yes, ma'am.

   24     Q.   And that stands for credit.           Right?

   25     A.   Yes, ma'am.

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                                    1985
                                                                                  97

    1     Q.   So is there any way looking at -- well, I guess

    2          it's the transaction type that differentiates the

    3          two; is that right?

    4     A.   Yes, ma'am.       Credit simply -- the CR simply means

    5          that that's just something applied to the balance

    6          that affects it downward.           When there is no

    7          credit, that affects the balance in an upward

    8          fashion.      It's a transaction type that actually

    9          tells you what that transaction is for.

   10     Q.   What is transaction type 7001A?

   11     A.   Those are interest capitalizations.

   12     Q.   Across the top of the page of this exhibit are

   13          other abbreviations including VTAM.              Do you know

   14          what that means?

   15     A.   No, ma'am.

   16     Q.   And then there's NAGB.          Do you know what that is?

   17     A.   No, ma'am.

   18     Q.   TSX2D?

   19     A.   No, ma'am.

   20     Q.   Who performed the redaction of Exhibit 8?

   21     A.   This would be a TSI employee.

   22     Q.   Did you do it?

   23     A.   Not to my recollection.

   24     Q.   When you look at the screen, is the redaction on

   25          the screen; or is it just --

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                                    1986
                                                                                  98

    1     A.   No, ma'am.

    2     Q.   Please turn now to Deposition Exhibit 9.                And if

    3          you could, please first confirm --

    4                 MR. SHARTLE:      Sorry.

    5                 MS. DILL:     Yes, go ahead.

    6                    (Discussion off the record.)

    7     BY MS. DILL:

    8     Q.   Have you had a chance to look at Deposition

    9          Exhibit 9?

   10     A.   Yes, ma'am.

   11     Q.   And is that a record that was created by AES?

   12     A.   Yes, ma'am.       This is -- like Exhibit 8, is just

   13          another screen shot printed directly from AES's

   14          system.

   15     Q.   And do you know who created this document?

   16     A.   If you're asking who printed it, no, I'm not

   17          certain of.

   18     Q.   Do you know who entered the data?

   19     A.   AES.    Which employee, I'm not certain.

   20     Q.   Do you know when it was created?

   21     A.   The document was printed on May 20, 2016.                 And

   22          the entries within the document would have been

   23          put into AES's system at the time -- actually,

   24          this document doesn't identify the time.

   25     Q.   So is the answer, no, you don't know when it was

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                                    1987
                                                                                  99

    1          created?

    2     A.   Not by looking at this document.

    3     Q.   Okay.

    4                MS. DILL:      Why don't we break for lunch.

    5                    (Discussion off the record.)

    6                    (A recess was taken from 12:29 p.m.

    7                     to 1:30 p.m.)

    8     BY MS. DILL:

    9     Q.   I want to briefly return to Exhibit 8, if you

   10          will.     I have just a few questions I forgot to

   11          ask you.

   12                And specifically, I'm looking at the pages

   13          beginning with Bates stamped 39 through 43.

   14     A.   Yes, ma'am.

   15     Q.   And could you tell me, please, it appears to me

   16          that no -- at no time was the principal balance

   17          ever reduced.       Is that true?

   18     A.   Yes, ma'am.       That is correct.

   19     Q.   Okay.     So it's fair to say that even though

   20          Ms. Coffey did make several payments, none of the

   21          money that she transmitted to the trust was ever

   22          applied to principal.          Correct?

   23     A.   That is correct.

   24     Q.   And when in this particular case -- and we're

   25          talking now about the note that was dated in

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                                    1988
                                                                               100

    1           July 19, 2006, for the principal amount -- well,

    2           the loan amount requested was 10,000.              When was

    3           this particular loan scheduled to begin

    4           repayment?

    5     A.    I would actually have to verify using other

    6           documents.      Is that all right?

    7     Q.    By all means, please do.          Yes.

    8     A.    All right.      Payment initially started on March 24

    9           of 2010.

   10     Q.    Is it your testimony that that was when the first

   11           scheduled payment was due?

   12     A.    Yeah.    That was the first payment due following

   13           the forbearance that the loan was entered into at

   14           origination for the full -- for full deferment.

   15     Q.    So you said March 23; is that correct?

   16     A.    The payment was made on the 23rd; the due date

   17           was actually the 24th.

   18     Q.    And what did you look at to determine that?

   19     A.    Well, I looked at the -- your Deposition

   20           Exhibit 10, Bates No. 47 has the -- let me

   21           explain the document in totality.

   22                 Exhibit 10 is the repayment schedule summary.

   23           So this document shows the various repayment

   24           schedules that could apply to the loan.                Since

   25           the loan is bearing interest at a variable rate,

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                                    1989
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    1           each year the repayment schedule gets

    2           recalculated just depending on whether interest

    3           went down or up to make the loan be paid off in

    4           full within the term of the loan.             So that's

    5           why you see so many different repayment

    6           schedules.

    7                 And also, a repayment schedule gets

    8           generated -- when it leaves forbearance or

    9           deferment, a new repayment schedule gets

   10           generated.

   11                 So this one, just looking at the documents in

   12           front of me, first I looked to see if there were

   13           any deferments or forbearances entered after the

   14           initial deferment or forbearance.             And there was

   15           one; but it wasn't entered until December -- or

   16           January 1 of 2010.        And that's your Deposition

   17           Exhibit 9.

   18                 Then I went over to your Deposition Exhibit 8

   19           and looked through the payments to see when the

   20           payments began.       And there was -- the first

   21           payment was applied on April 24 of 2008 in the

   22           amount of $130.84.        And this one looks like it

   23           was just a random payment that was made.                No

   24           payment was due at this time because the loan was

   25           not in any type of repayment at that time.                   It

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                                    1990
                                                                              102

    1           was still under the deferment.

    2                  So then I went to the next payment when the

    3           payments actually started to be made on a regular

    4           basis, and that was your March 23 payment.

    5                  Now, I looked just before that to see whether

    6           there was any late fees to identify payments were

    7           due prior to that date.          There was no late fees

    8           on the account prior to that date, so no payments

    9           were due prior to that date.

   10                  So then I looked at the date March 23, 2010,

   11           payment was made.        And then I went back to the

   12           repayment schedule and found the repayment

   13           schedule that matched that time period.                And it

   14           was actually a payment schedule that was made.

   15           And if you look towards the left, the third

   16           column in, TG.       That means it's a graduated

   17           payment schedule.        So that was --

   18     Q.    I'm sorry.      Which page are you on now?

   19     A.    Bates 47, your Deposition Exhibit 10.

   20     Q.    Yes.

   21     A.    So the TG on the third line in the transaction 9,

   22           the third row in, or column in, sorry, means it's

   23           a graduated payment schedule.

   24                  So this wasn't her full repayment amount.                It

   25           was a graduated amount.          So -- and if you look on

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    1           the one, two, three, four -- the fifth column in,

    2           that 4 says it's four repayments or four

    3           repayment levels.        So what that means is there's

    4           four different levels in this term of varying

    5           amounts.     So --

    6     Q.    Okay.    You have got to stop because I'm -- I need

    7           to --

    8     A.    Okay.

    9     Q.    -- unpack that a little bit.

   10     A.    Okay.

   11     Q.    And hold your thought.         I didn't mean to

   12           interrupt, but you're just getting a little bit

   13           too, too far beyond where I was going, if you

   14           don't mind.

   15                 So just originally I was asking you when her

   16           first payment was due.         And based on your

   17           explanation, I understand it was due in March of

   18           2010.    Correct?

   19     A.    Yes, ma'am.

   20     Q.    Okay.    And you also testified that based on your

   21           review of the records, no money paid by my client

   22           has ever been put towards the principal amount.

   23           Correct?

   24     A.    That is correct.

   25     Q.    And why then, if she made a random payment in

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                                    1992
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    1           September or -- excuse me, in April of 2008 of

    2           $130, why wasn't any of that put towards

    3           principal?

    4     A.    Because there was an interest amount that was due

    5           and owing on the loan at that time, that that

    6           payment was applied to the interest bucket.

    7     Q.    Even though she had entered into a deferral?

    8     A.    Yeah.    The deferral just defers your payment

    9           obligation; it doesn't defer interest accrual.

   10           So interest will still continue to accrue during

   11           the deferment period.

   12                 And we previously discussed the interest

   13           capitalization, the 7001A.           During your deferment

   14           period, the interest capitalizes at various

   15           points while your loan is in deferment; but

   16           interest continues to accrue.

   17                 So when she made that payment, $130.84 was

   18           taken off of the interest, leaving the $73.75

   19           that -- that accrued less the payment made

   20           between October 4, 2008, and April 24, 2008.

   21     Q.    And the terms that you just described, how money

   22           is applied and when payments are due and if a

   23           deferral applies, are all contained in the

   24           additional terms and conditions that are attached

   25           to the front page of the loan agreement.                Right?

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                                    1993
                                                                              105

    1     A.    The deferment period is described there, and

    2           the repayment schedules are described broadly

    3           there.     They're not identified exactly what the

    4           amount is going to be because the repayment

    5           schedule hasn't been generated yet.             Payment

    6           application is not.

    7     Q.    It is -- the terms -- additional terms and

    8           conditions described the variable rate, how it's

    9           calculated.      Right?

   10     A.    Yes.

   11     Q.    Okay.    So --

   12                  MR. SHARTLE:     He's trying to answer your

   13           question by looking at the documents.

   14                  MS. DILL:    There is no question pending,

   15           but thank you.

   16                  MR. SHARTLE:     No, you did ask him a

   17           question.     He said he wasn't sure; he needed

   18           to look.

   19                  You had a question to him about how they

   20           applied payments if there is no interest.

   21     A.    The payments are -- application method is

   22           identified within these terms on paragraph E5,

   23           your Bates number 18.

   24     Q.    Okay.    So -- now, jumping ahead to Exhibit 9,

   25           this appears to be, based on what you have said

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    1           so far, another document that was created by AES.

    2           Correct?

    3     A.    Yes.    This is a screen shot from AES's system.

    4     Q.    And I think before the break we talked about

    5           this.    You don't know exactly when it was created

    6           or who created it, but it was in the system.

    7           Correct?

    8     A.    Yes, ma'am.      That's correct.

    9     Q.    All right.      Now, what is Exhibit 10, which was

   10           attached to the Holiday affidavit as Exhibit F?

   11     A.    So as briefly discussed just moments ago, this is

   12           the repayment schedule summary.

   13     Q.    Okay.    Let me ask you first.         This appears to be

   14           redacted by hand as opposed to the other

   15           documents that appeared to be redacted

   16           electronically?

   17     A.    Yes, ma'am.

   18     Q.    Do you agree with me?

   19     A.    Yes, ma'am.

   20     Q.    Who redacted the information on what is

   21           Deposition Exhibit 10?

   22     A.    I'm uncertain.

   23     Q.    Why was it redacted?

   24     A.    Well, the top portion, the top two redaction

   25           lines contain the social security number --

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    1           actually, the top line contains the social

    2           security number; so the first five digits are

    3           redacted.     The second line, I'm unsure why that

    4           was manually redacted.         That's just the date and

    5           time stamp.

    6     Q.    And the date and time stamp referred to when the

    7           document was printed?

    8     A.    Correct.     Yes, ma'am.

    9     Q.    Not created?

   10     A.    Correct.     Just printed.

   11     Q.    Do you -- are you able to testify today as to

   12           what date the document that is Deposition

   13           Exhibit 10 was printed?

   14     A.    No, ma'am.

   15     Q.    So we don't know who redacted it or why.                Is it

   16           unusual for a document such as Exhibit 10, a

   17           document that was presented to the Portland

   18           District Court, to have been redacted in a

   19           fashion similar to what appears on 10?

   20     A.    I wouldn't say it's unusual.           It happens.

   21     Q.    Do you know what --

   22                 MR. SHARTLE:      Are you asking the witness

   23           of -- because it looks like this is actually

   24           two pages of the same document.            It may help

   25           us to turn over to the next page.

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                                                                              108

    1     BY MS. DILL:

    2     Q.    Does it help you by turning over to the next

    3           page -- well, it may help as far as the date.                  As

    4           far as who did the redacting, do you -- are there

    5           any clues on page 48 as to who did the redacting

    6           or why?

    7     A.    Not as to who did the redacting.

    8     Q.    How about why?

    9     A.    No, ma'am.

   10     Q.    On the column to the right of Deposition

   11           Exhibit 10 it says owner, and then it says NCT.

   12           What does that refer to?

   13     A.    Refers to National Collegiate Trust.

   14     Q.    And there are several National Collegiate Student

   15           Trusts.     Correct?

   16     A.    Yes, ma'am.

   17     Q.    In fact, there is the one associated with this

   18           loan, and then in the related case, another

   19           trust.    Correct?

   20     A.    Yes, ma'am.

   21     Q.    Does AES distinguish the owners on its documents,

   22           one trust from the other?

   23     A.    Certain portions of the AES account record will

   24           have the exact trust.         Like, if we went back to

   25           your Deposition Exhibit 8, it would reference in

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    1           the top left, about five, six rows down, the bond

    2           issue.    NCT 2006-3 identifies as National

    3           Collegiate Student Loan Trust 2006-3 for this

    4           loan.

    5     Q.    Okay.    But on the schedule that we're looking at,

    6           it just says National Collegiate Trust.                And

    7           we're assuming it's the one associated with this

    8           loan, but there is no way of knowing from this

    9           document which trust they're talking about.                  Is

   10           that true?

   11     A.    Not by just looking at the owner.             We can

   12           identify which trust it is by identifying the

   13           disbursement date and looking through the rest of

   14           the loan records and tying it back that this loan

   15           disbursed on this date belongs to this trust.

   16     Q.    And was this document Exhibit 10 created for the

   17           purpose of litigation?

   18     A.    It was printed for the purpose of including in

   19           the affidavit.       But the document itself being

   20           created with the entries was not for litigation.

   21           This was created and the entries added at the

   22           time that they were at or near the time that they

   23           were identified.

   24     Q.    How do you know that?

   25     A.    That's from the training with AES and working

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    1           with them on how they input their records and how

    2           their repayment schedules are actually generated.

    3                 Most of these are automatically generated, as

    4           we discussed.       Every year a new one generates.

    5           That's an automatic function in their system.

    6                 Same thing with if it comes out of a

    7           forbearance into a temporary forbearance.                At the

    8           end of that forbearance, it automatically

    9           generates and calculates what the repayment

   10           schedule will be to pay off the loan and the

   11           amount allotted to repay that loan.

   12     Q.    Have you done anything in your capacity as the

   13           senior litigation specialist to confirm that the

   14           information that's represented by AES is, in

   15           fact, accurate; or do you just rely on the

   16           representations?

   17     A.    I mean, we have confirmed and I have confirmed

   18           various portions of information throughout

   19           account records.        For Ms. Thurlow's loan, I have

   20           not looked at anything outside of the records.

   21     Q.    But in terms of your testifying now about how AES

   22           manages its record management database, your -- I

   23           think what you have said is you know about how

   24           AES manages its record because you went to a

   25           training; and they told you.           Correct?

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                                    1999
                                                                              111

    1     A.    I was trained on it.

    2     Q.    Right.    So you were trained on it, and they told

    3           you how it works?

    4     A.    Yes, ma'am.

    5     Q.    Okay.    And other than that, have you -- do you

    6           have access to how they create documents?

    7                 MR. SHARTLE:      Object to the form.

    8     BY MS. DILL:

    9     Q.    Do you have any input on how the documents

   10           themselves are styled?

   11     A.    No, ma'am.

   12     Q.    So other than being able to look at the AES

   13           documents, can you do anything else with them

   14           other than look at them and print them?

   15                 MR. SHARTLE:      Objection.      Object to the

   16           form.

   17     A.    No, ma'am.

   18     Q.    Okay.    Now, if you could, please, turn your

   19           attention to Deposition Exhibit 11.             What is

   20           Deposition Exhibit 11?

   21     A.    This is the loan payment history report.                So this

   22           is the financial record of the account from where

   23           AES left off at charge-off through the time that

   24           this is printed out of -- well, at this time that

   25           this was printed, it was out of the TSI system.

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                                    2000
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    1     Q.    And who created this record?

    2     A.    This is a system record.

    3     Q.    Which system?

    4     A.    TSI through the CRS system.

    5     Q.    When was the document created?

    6     A.    This document was printed on May 19 of 2006, and

    7           it was printed from information out of CRS, TSI

    8           system.

    9     Q.    So my question was when was the document created.

   10           Is there a distinction in your mind between it

   11           being created and printing?

   12     A.    Yes.

   13     Q.    Is this a document that was produced for the

   14           purposes of litigation?

   15                  MR. SHARTLE:     Object to the form.

   16     A.    I'm uncertain.

   17     Q.    If the case had never -- if the loan -- strike

   18           that.

   19                  If the loan had not gone into default, would

   20           this record exist?

   21     A.    No, ma'am.

   22     Q.    This is a record that Transworld Systems created.

   23           Right?

   24     A.    Yes.

   25     Q.    Based on information transmitted by AES?

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    1     A.    Partially.

    2     Q.    Okay.    Why don't we just go through it.              The

    3           interest rate is identified on this document as

    4           6.19 percent.       Correct?

    5     A.    Yes, ma'am.

    6     Q.    And that's different than the interest rate that

    7           appears on the note disclosure agreement.                Right?

    8     A.    Yes, ma'am.

    9     Q.    Why is that?

   10     A.    Well, the interest rate on the note disclosure

   11           statement is actually an estimate at the time the

   12           note disclosure statement was given, which was

   13           back in 2006.       And it was given for disclosure

   14           purposes pursuant to various federal rules.

   15                 The interest rate identified on the loan

   16           payment history report would be the rate that's

   17           applicable on the loan as of the date of the

   18           report, which is May 19 of 2016.            And we

   19           discussed previously the variable nature of the

   20           rate.

   21     Q.    And who calculated that rate?

   22     A.    That rate is a system calculation based on the

   23           margin, plus the applicable rate at the time that

   24           affects the loan.

   25     Q.    Does the transaction history include payments

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                                    2002
                                                                              114

    1           that were made?

    2     A.    It would if there were payments made.              There is

    3           no payments made to this loan following the

    4           charge-off of it.

    5     Q.    And the charge-off was?

    6     A.    April 2 of 2012.

    7     Q.    So if -- if Sarah Thurlow had made a payment

    8           between August -- or, excuse me -- yes,

    9           August 22, 2011, and the date that this

   10           document was printed on May 19, 2016, would

   11           it show up?

   12     A.    Well, it depends.        So going back to August 22,

   13           2011, through April 2, 2012, if a payment was

   14           made in that time frame, it would be on AES's

   15           loan financial activity, which was your

   16           Exhibit 8.      If the payment was made after April 2

   17           of 2012, that payment would be identified within

   18           the transaction history on the loan payment

   19           history report; and it would also include the

   20           information at the top portion for last payment

   21           date.    And last payment amount would be updated

   22           to the date that the payment was made, if one had

   23           been made.

   24     Q.    Does the loan payment history report include all

   25           payments made towards this loan or just payments

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                                    2003
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    1           made by the borrower?

    2     A.    It would be --

    3                 MR. SHARTLE:      Object to the form.

    4     A.    -- any payment made.

    5     Q.    So, for instance, if the guarantor of this loan

    6           purchased the loan, would that information appear

    7           on the loan payment history report which has been

    8           marked Deposition Exhibit 11?

    9                 MR. SHARTLE:      Objection to the use of

   10           the term guarantor.

   11     BY MS. DILL:

   12     Q.    Do you know what a guarantor is?

   13     A.    Yes, ma'am.

   14     Q.    And in this case, do you know who the guarantor

   15           is?

   16     A.    If it was --

   17     Q.    Who was it?

   18     A.    The Education Resource Institute.

   19     Q.    Okay.    So if the Education Resource Institute had

   20           made good on its guarantee, would that payment

   21           show up on the loan payment history report?

   22     A.    No, ma'am.      The loan payment history report would

   23           never exist because TSI would never get the

   24           account as servicer of those defaulted loans.

   25     Q.    Why is that?

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    1     A.    Because the guarantor would have purchased the

    2           loan and assumed ownership and done what they

    3           needed to do or whatever they chose to do with

    4           that loan.

    5     Q.    So are there loans that you are responsible

    6           for -- strike that.

    7                 In your capacity as the senior litigation

    8           specialist for Transworld Systems, have you had

    9           occasion to work on loans that have been

   10           purchased by the Education Resource Institute?

   11     A.    Can you repeat that?

   12     Q.    Have you ever had any experience in any of the

   13           cases that you have worked on or files that you

   14           have managed with loans that have been purchased

   15           by the Education Resource Institute?

   16     A.    There have been a few.

   17     Q.    And have they been the subject of litigation?

   18     A.    Some, yes.

   19     Q.    What cases are you referring to?

   20                 MR. SHARTLE:      Objection, outside the

   21           scope of the notice.         I'll let the witness

   22           answer to the extent he's got personal

   23           knowledge.

   24     A.    I don't recall the names of any cases.

   25     Q.    In the beginning of the deposition you said you

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    1           have testified in other depositions.              Have you

    2           ever testified about loans being purchased by the

    3           Education Resource Institute?

    4                 MR. SHARTLE:      Same objection.

    5     A.    I don't recall.

    6     Q.    You would agree with me though that if the

    7           Education Resource Institute made good on its

    8           guarantee, that the title to the loan would

    9           transfer from the trusts to the guarantor or some

   10           other entity?

   11     A.    If national -- or if the Education Resource

   12           Institute paid the guarantee for the borrower,

   13           they would assume ownership; and the trust would

   14           no longer own the loan.

   15     Q.    And do you agree with me that if the trust no

   16           longer owned the loan, it couldn't sue the

   17           borrower for the loan?

   18     A.    That's accurate.

   19     Q.    Okay.    Would you agree with me that if the trust

   20           no longer owned the loan, then it could not

   21           report to a credit reporting agency that the loan

   22           was in default?

   23     A.    If they didn't own the loan, they would not be

   24           able to report.

   25     Q.    Okay.    I'm going to ask you now to look at

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    1           Deposition Exhibit 12.         And I will represent to

    2           you -- and feel free to take time to confirm

    3           this -- that this is the complaint that was

    4           attached to -- I mean -- excuse me.             This is the

    5           loan request and credit agreement that was

    6           attached to the complaint and represented to the

    7           Court as a true and accurate copy of the note.

    8           Would you agree with me?

    9     A.    I can't necessarily agree with that.              This is a

   10           copy of a credit agreement.           Whether it was

   11           attached to the complaint or not I'm uncertain

   12           of.

   13     Q.    Would you like to take a moment to confirm with

   14           your attorneys, if they have the pleadings, to

   15           continue this line of questioning or --

   16                 MR. SHARTLE:      If you have got a

   17           question, ask him.

   18     BY MS. DILL:

   19     Q.    Well, the -- my question is if you look at this

   20           document, Exhibit 12, and you compare it with the

   21           copy of the note that was attached to the Alicia

   22           Holiday affidavit, which is Exhibit 6, it appears

   23           that page 2 of 5 is different.            Isn't that true?

   24     A.    In what sense?

   25     Q.    Well, specifically I refer you to the variable

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    1           rate paragraph on the right-hand side of the

    2           page.

    3                 MR. SHARTLE:      What page are we talking

    4           about, Bates No. 54?

    5                 MS. DILL:     Yes.    Why don't we start with

    6           looking at page 54.

    7     BY MS. DILL:

    8     Q.    And under section D, paragraph 2, it states that

    9           in no event will the variable rate exceed the

   10           maximum interest rate allowed by the laws of the

   11           State of Rhode Island.         Correct?

   12     A.    That's what page 54 says, yes, ma'am.

   13     Q.    And page 17 states that in no event will the

   14           variable rate exceed the minimum interest rate

   15           allowed by the state -- the laws of the State of

   16           Ohio.    Correct?

   17     A.    That's what page 17 says.

   18     Q.    Now, at the bottom of both page 54 and 17 --

   19           these are the Bates stamped numbers -- that term

   20           code -- that was your word not mine -- appears to

   21           be identical.       Is that true?

   22     A.    Yes, ma'am.

   23     Q.    Which note -- which loan request and credit

   24           agreement is, in fact, the true copy of the one

   25           that was executed by the borrowers in this case,

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                                    2008
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    1           Exhibit 12 or Exhibit 6?

    2     A.    The signature pages are both the same in both

    3           of the exhibits; but the terms attached in

    4           Exhibit 6, with the exception of the missing page

    5           that we discussed previously, would be the

    6           accurate ones.       The terms that were attached in

    7           your Deposition Exhibit 12 actually belong to the

    8           RBS Citizens, Charter One program.             This was

    9           during the time that the two banks were merging;

   10           so the RBS Citizens managed programs would have

   11           gotten this term code that's identified in your

   12           Exhibit 12, where the Charter One originated

   13           programs would get the term codes that were

   14           attached in Deposition Exhibit 6.

   15     Q.    So is it fair to say that the -- it was the -- it

   16           was the affidavit production specialist -- is

   17           that right?

   18                 Is that close, the affidavit production

   19           specialist?

   20                 The person who puts together the form

   21           affidavit and attaches the documents, what do you

   22           call that person?

   23     A.    It's an affidavit production team.

   24     Q.    Oh.

   25     A.    I didn't give a specific title.

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                                    2009
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    1     Q.    I was pretty close.

    2     A.    I didn't give a specific name.

    3     Q.    Okay.     All right.     So the affidavit production

    4           team are the people responsible for attaching the

    5           first page with the additional pages; is that

    6           right?

    7     A.    For the affidavit production, yeah, when it goes

    8           along with the affidavit.

    9     Q.    Okay.     So is it -- is it fair to say that when

   10           you looked in the -- what was that third -- the

   11           third database that has the documents?

   12     A.    Media Locator.

   13     Q.    Media Locator.       Thank you.

   14     A.    Uh-huh.

   15     Q.    When you looked in the Media Locator, the

   16           additional terms and conditions are not part of

   17           that file.      Right?

   18                 MR. SHARTLE:       Objection, mischaracterization.

   19     A.    Generally, no.       However, they can become part of

   20           that file.      That file contains all the loan level

   21           documents.      So in the event an affidavit is

   22           signed -- like in this case, there was multiple

   23           affidavits signed.        Those are then scanned in

   24           once they're signed and stored in the Media

   25           Locator.

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    1                 So now, if I go into the Media Locator for

    2           Ms. Thurlow's loan, I can pull up the affidavit

    3           with the attachments; and then her terms and

    4           conditions would be on there.

    5     Q.    Okay.     But in this case in the Portland District

    6           Court, there's been two representations to the

    7           Court that loans that are different are true and

    8           accurate copies.        Right?

    9     A.    Well --

   10                 MR. SHARTLE:      Objection, calls for a

   11           legal conclusion.        Only one was attached to

   12           an affidavit.

   13     BY MS. DILL:

   14     Q.    Okay.     That's fair.

   15                 So the complaint that was filed stated that

   16           Exhibit 12 is a true and accurate copy of the

   17           complaint.      And that's not true.        Right?

   18     A.    I don't know what the complaint stated.                I don't

   19           recall the specific wording or in what context

   20           the document was referred to within the

   21           complaint.

   22     Q.    You would agree with me though that the

   23           attachments to the note are, in fact, different?

   24                 MR. SHARTLE:      Object to the form.

   25     A.    The terms for Deposition Exhibit 6 and Deposition

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    1           Exhibit 12 are different sets of terms.

    2     Q.    And how do you explain the difference?

    3                 Was it human error?

    4     A.    I believe it was.

    5     Q.    And what do you think the error was?

    6     A.    I couldn't speculate.

    7     Q.    Is there a process by which the affidavit

    8           production team produces a note and then pushes

    9           a button for terms and conditions that are

   10           supposed to apply; and maybe somebody pushed the

   11           wrong button?

   12     A.    It's a manual review.

   13     Q.    What is a manual review?

   14     A.    Reviewing the account for the applicable terms

   15           and conditions.       It's not a button push; it's a

   16           person looking at the terms, looking at the term

   17           code, and finding the applicable terms associated

   18           with that code, and then pulling those in

   19           manually.

   20     Q.    So in this case though, I think we have already

   21           established that there's no paper records of this

   22           loan, correct, that you have in your possession,

   23           custody, or control?

   24                 MR. SHARTLE:      Object to the form, the

   25           use of the word paper.

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                                    2012
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    1     A.    Our records are maintained electronically.

    2     Q.    Okay.     And there is no one place that has the

    3           terms and conditions that were appended to the

    4           actual loan application -- loan request and

    5           credit agreement that Sarah Thurlow signed.

    6           Correct?

    7                 THE DEPONENT:       Can you read that back?

    8     A.    Or can you repeat it?

    9     Q.    Sure.     I'll try to repeat it if you don't

   10           understand.

   11     A.    No.     I just lost you halfway through.

   12     Q.    At the time that Sarah Thurlow signed the loan in

   13           July of 2006, the piece of paper that she signed

   14           and faxed, you said earlier in your testimony,

   15           had the terms and conditions attached.                 Right?

   16     A.    Yes, ma'am.

   17     Q.    And they, according to your testimony, were not

   18           faxed to the lender; but are, nevertheless,

   19           incorporated into the terms of the note.                 Right?

   20     A.    Correct.

   21     Q.    And my question to you is how do you know, as you

   22           sit here today, which terms and conditions go

   23           with her note, the ones that are attached to the

   24           complaint or the ones that are attached to the

   25           Holiday affidavit?

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    1     A.    Well, it's the ones that were attached to the

    2           Holiday affidavit.        I know that by, one, looking

    3           at the term code and matching it up.              Even though

    4           they're both -- on Exhibit 12 and Exhibit 6,

    5           they're both the same term code.            But then

    6           further in the opening paragraph of the terms, it

    7           identifies the actual lending bank.             And the

    8           terms that identify in Exhibit 6 in Alicia

    9           Holiday's affidavit are for Charter One, where

   10           the terms identified in your Deposition Exhibit

   11           12 are Charter One doing business -- or -- yes,

   12           doing business -- or RBS Citizens National

   13           Association doing business as Charter One.

   14     Q.    Where are you looking in this document for these

   15           terms?

   16     A.    It's the first paragraph.          So Deposition

   17           Exhibit 6, Bates 17; and Deposition Exhibit 12,

   18           Bates 54 in the very first paragraph where it

   19           identifies the definition of lender.              It's the

   20           third sentence in or the third line.

   21                 MR. SHARTLE:      It's literally the first

   22           paragraph of both documents.

   23     BY MS. DILL:

   24     Q.    Okay.    But you don't know -- you don't have

   25           personal knowledge what terms and conditions.

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                                    2014
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    1           You're making an assumption that these terms and

    2           conditions were attached to her loan based on a

    3           code; but you don't know for a fact.              Is that

    4           true?

    5                 MR. SHARTLE:      Objection to the form and

    6           mischaracterization.

    7     A.    I do have personal knowledge of the business

    8           practice for the origination of these loans and

    9           the practice of --

   10     Q.    Well, wait.      So you have -- you have personal

   11           knowledge of the -- the practices and procedures

   12           that were in place in 2006 when she signed this

   13           loan?

   14     A.    Yes, ma'am.

   15     Q.    And what is that based on?

   16     A.    Various agreements --

   17                 MR. SHARTLE:      Objection, asked and

   18           answered.

   19     A.    -- that lay out the way these loans are to be

   20           originated as well as my training with First

   21           Marblehead who assisted in the origination

   22           process of these loans.

   23     Q.    Do you know where she signed this loan and where

   24           it was faxed from?

   25     A.    Well, it was faxed from -- the document says

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                                    2015
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    1           where it was faxed from, from fax No.

    2           (207) 893-1756.       Where that fax was physically

    3           located I do not know.

    4     Q.    And do you know where she faxed it to?

    5     A.    As previously stated, it was either to Charter

    6           One or to a party on Charter One's behalf,

    7           someone that they have hired to facilitate the

    8           origination of loans, faxed to the fax number

    9           (800) 704-9406.

   10     Q.    Do you know what number that is?

   11     A.    No, ma'am.

   12     Q.    Okay.    So it's safe to say you don't know where

   13           it was faxed from.        I agree -- I accept that you

   14           have two possibilities; but you don't know which

   15           one it was faxed to.         Correct?

   16     A.    Yes.    I stated that.

   17     Q.    Okay.    And your testimony that you're sure that

   18           Exhibit 6 is, in fact, what she signed is based

   19           on your experience and past practice; is that

   20           right -- and the codes?

   21     A.    Yes, ma'am.      That's fair.

   22     Q.    Okay.    Anything else inform you as to which terms

   23           and conditions she agreed to?

   24     A.    No, ma'am.

   25     Q.    Now, both Alicia Holiday and James Cummins we

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    1           have already established work with you in

    2           Georgia.     Right?

    3     A.    Yes, ma'am.      They're located in my office.

    4     Q.    And Mr. Cummins in his affidavit, which is

    5           Deposition Exhibit 2, on Bates stamped page 4

    6           gives the principal sum together with accrued

    7           interest for a total of 18,639 thousand -- excuse

    8           me, $18,639.96 as of January 15, 2016.                 Correct?

    9     A.    Yes, ma'am.

   10     Q.    Now, Ms. Holiday in her affidavit, which is

   11           Deposition Exhibit 4, on page -- Bates stamped

   12           page 11 in paragraph 10 says that principal sum

   13           together with accrued interest for a total

   14           $18,639.96 as of May 23, 2016.            Did -- is that

   15           correct?

   16     A.    Yes, ma'am.

   17     Q.    Now, both of those can't be true.             Right?

   18     A.    I don't see why not.

   19     Q.    Interest on these loans accrues daily; doesn't

   20           it?

   21     A.    Yes, ma'am.

   22     Q.    Okay.    So if there was a balance on January 15 of

   23           2016, are you suggesting then that interest

   24           stopped accruing at that time?

   25     A.    We stopped seeking the interest that was

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                                    2017
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    1           accruing.

    2     Q.    Why is that?

    3     A.    Through the litigation to seek an amount certain

    4           and not have to go after prejudgment interest

    5           that accrues during the pendency of the case.

    6     Q.    So are you giving up any right to interest after

    7           January 15, 2016?

    8     A.    Through this litigation.          It's actually a date

    9           prior to that.       It's the date that we placed it

   10           with the law firm that we stop seeking the

   11           recovery of that interest.

   12     Q.    When was the case placed with the law firm?

   13     A.    April 10 of 2015.

   14     Q.    So did interest stop accruing on April 10 of

   15           2015?

   16     A.    Interest continued to accrue.            We just stopped

   17           seeking the recovery of it.

   18     Q.    Your representation to the Court that this is the

   19           amount due based on the loan documents, is it

   20           your testimony that what you meant to say was

   21           that that was the amount that you're seeking, not

   22           that that's the amount due?

   23                 MR. SHARTLE:      Objection, argumentative.

   24     A.    I'm not sure.

   25     Q.    You know that this is a breach of contract case.

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                                    2018
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    1           Right?

    2     A.    Yes, ma'am.

    3     Q.    Okay.    And so presumably the breach of contract

    4           refers to the loan; is that right?

    5     A.    Yes, ma'am.

    6     Q.    And so a representation to the Court as to how

    7           much the loan amount due is usually based on the

    8           loan plus interest.        Right?

    9                 MR. SHARTLE:      Objection, argumentative.

   10     A.    Could be.

   11     Q.    Well, you do a lot of these cases.             Right?

   12                 MR. SHARTLE:      Objection, argumentative.

   13                 Is it your position that you have to ask

   14           for more than what you're entitled -- more

   15           than you're willing to take?

   16     BY MS. DILL:

   17     Q.    Is your explanation that the difference in

   18           amounts stated to be owed between Mr. Cummins and

   19           Ms. Holiday is because you hired the law firm?

   20                 MR. SHARTLE:      Objection, argumentative.

   21     A.    I'm not sure I understand the question.

   22     Q.    Okay.    If you said this already, I apologize.

   23           But what is the reason for not continuing to

   24           calculate the accrual of interest?

   25     A.    It's a business decision.

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    1     Q.    Who made the business decision?

    2                 MR. SHARTLE:      Objection, outside the

    3           scope of the notice.

    4     A.    Multiple parties were involved in deciding that.

    5     Q.    Were you one of them?

    6     A.    I was part of conversations.

    7     Q.    Who else was in the conversation?

    8     A.    In-house counsel.

    9                 MR. SHARTLE:      Don't reveal any

   10           conversations you have had with the lawyers.

   11     BY MS. DILL:

   12     Q.    Is in-house counsel separate from the Ratchford

   13           Law Group?

   14     A.    Yes, ma'am.

   15     Q.    So is the amount that the National Collegiate

   16           Student Loan Trust is seeking in this lawsuit an

   17           amount that is not reflective of the principal

   18           balance plus accrued interest?

   19     A.    It's the amount --

   20                 MR. SHARTLE:      Objection, argumentative

   21           and to the form.

   22     A.    It's the amount that's representative of the

   23           principal balance plus interest to a date.

   24     Q.    And what date is that?

   25     A.    It was April 10 of 2015.

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    1     Q.    Okay.    I'm going to show you now what's been

    2           marked Deposition 19, which I haven't given you

    3           yet.

    4                  Have you seen this document before?

    5                  I doubt it.

    6     A.    Not this particular document.            I have seen

    7           similar letters.

    8     Q.    Would you agree with me that this --

    9                  MR. SHARTLE:        Hold on a second.     Have

   10           you produced this in this litigation?

   11                  MS. DILL:     No.

   12                  MR. SHARTLE:        You're going to ask the

   13           witness about a document that you haven't

   14           produced?

   15                  MS. DILL:     Yes.

   16                  MR. SHARTLE:        And I'll object and let

   17           the witness answer to the extent he has

   18           personal knowledge.          But I think any line of

   19           questioning relating to a document you have

   20           held onto and you want to surprise the

   21           witness about it is totally improper.

   22                  MS. DILL:     Okay.     All right.    All set?

   23                  MR. SHARTLE:        All right.

   24     BY MS. DILL:

   25     Q.    This appears to be a financial activity summary

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    1           document produced by American Education Services.

    2           Would you agree with that?

    3     A.    It appears to be.

    4     Q.    Okay.    And we have -- we have already learned

    5           that you -- it's your belief that the American

    6           Education Services maintains accurate and

    7           reliable records.        Correct?

    8     A.    Yes, ma'am.

    9     Q.    And the document states that on April 2, 2012,

   10           the guarantor paid off this loan and the other

   11           loan that is the subject of the two cases against

   12           my client.      Do you see that?

   13                 MR. SHARTLE:      Objection.      Are you

   14           testifying to what the document says or are

   15           you going to ask the witness?

   16     BY MS. DILL:

   17     Q.    Do you see where the document indicates that the

   18           guarantor paid off both loans in this case?

   19     A.    I see where the document says guarantor pay.

   20     Q.    Okay.    And can you explain what that means.

   21     A.    That terminology, no, ma'am.

   22     Q.    Do you know what a guarantor is?

   23     A.    As previously stated, yes, ma'am.

   24     Q.    And you know the guarantor in this case is TERI?

   25     A.    Was TERI.

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    1     Q.    Was TERI.

    2                 And do you know if, in fact, TERI purchased

    3           this loan?

    4     A.    They did not.

    5     Q.    They did not.       And you -- what do you base that

    6           testimony on?

    7     A.    Well, I base that testimony on the fact that TERI

    8           filed bankruptcy in April 2008.            And then they

    9           entered into a temporary order which allowed them

   10           to continue to guarantee loans so long as they

   11           had money in their pledged account for each

   12           individual trust.        They were not allowed to dip

   13           into their general operating fund to guarantee

   14           the loans.

   15                 And based on my training and working with

   16           First Marblehead, who worked with TERI on a lot

   17           of the guarantees during that interim period, the

   18           pledged accounts ran dry as of late 2008,

   19           beginning of 2009.        So TERI no longer guaranteed

   20           any loans because they had no more money left in

   21           their pledged accounts to guarantee those loans.

   22                 That then created a void of defaulted loans

   23           which then allowed First Marblehead Education

   24           Resources to be enacted as a special servicer of

   25           defaulted loans which then ultimately transferred

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    1           to NCO Financial Systems when First Marblehead

    2           Education Resources resigned in 2012.

    3     Q.    So how does that explain your belief that TERI

    4           did not purchase this loan?

    5     A.    They couldn't have.        They had no money left in

    6           their pledged account as of 2008, beginning of

    7           2009.

    8     Q.    And this is information that was relayed to you

    9           by whom?

   10     A.    First Marblehead.

   11     Q.    Who at First Marblehead?

   12     A.    I don't remember exactly.          Matt Coletti or Jason

   13           Corn.

   14     Q.    So this was a conversation you had with somebody

   15           at First Marblehead?

   16     A.    Yes, ma'am.

   17     Q.    Let's look back at the Deposition Exhibit 8 now.

   18           You testified earlier that Deposition Exhibit 8,

   19           page 39, the entry for August -- excuse me,

   20           April 2, 2012, was a charge-off.            Correct?

   21     A.    Yes, ma'am.

   22     Q.    You agree with me though that the amount charged

   23           off is, in fact, the exact amount that the AES

   24           document, Deposition Exhibit 19, claims to have

   25           paid off.     Is that correct?

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    1     A.    I mean, the document says guarantor pay.                I would

    2           not say that the guarantor paid off that amount.

    3     Q.    What -- why would you not say that?

    4     A.    Because of my knowledge that the loan was charged

    5           off and the guarantor was not in a capacity to do

    6           any business of coming through as a guarantor on

    7           an individual loan at that time.

    8     Q.    Are there any records that you have at your

    9           disposal that would confirm whether or not this

   10           $15,786.39 credited on April 2, 2012, as it

   11           appears to have been on Deposition Exhibit 8 is

   12           not a result of TERI paying it off one way or the

   13           other?

   14     A.    I think the fact that we have it in our system

   15           supports that TERI didn't pay it off.

   16     Q.    The fact that you show the exact amount credited

   17           on the same day supports the position it didn't

   18           pay it off?

   19     A.    No.    The fact that TSI currently has the account

   20           and is servicing the account supports that TERI

   21           never paid it off because had TERI paid it off,

   22           the account would have never went to First

   23           Marblehead originally, never went to NCO, and

   24           never be at TSI as it is today.

   25     Q.    You would agree with me that if TERI had paid the

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    1           loan off in April of 2012, that the National

    2           Collegiate Student Loan Trust would no longer own

    3           the loan.     Right?

    4                 MR. SHARTLE:      Objection, asked and

    5           answered.

    6     A.    Had TERI paid the loan off, that is correct;

    7           National Collegiate Student Loan Trust 2006-3

    8           would not own that loan.

    9     Q.    And, therefore, the lawsuit that National

   10           Collegiate Student Loan Trust 2006-3 and the

   11           other one in this case would be unlawful?

   12                 MR. SHARTLE:      Objection, calls for a

   13           legal conclusion.

   14                 We'll stipulate it would have been

   15           improper.

   16     A.    Had TERI paid off the loan, the lawsuit as

   17           currently pled and captioned would be improper.

   18     Q.    Now, you said you have access to the AES

   19           database.     Right?

   20     A.    Yes, ma'am.

   21     Q.    So is this a record that you have access to?

   22     A.    Through a request.        I would have to request it

   23           from AES.

   24     Q.    What would you call the request?

   25     A.    I would ask for the correspondence document

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    1           number.     I mean, it looks like this is something

    2           that you just requested from AES recently, and

    3           they mailed to you.        So this is a new record from

    4           AES.    And their records are identified -- their

    5           letters are identified by correspondence doc

    6           numbers, which are found in the bottom center,

    7           which is a unique numerical code that identifies

    8           and relates to an individual letter.

    9     Q.    So specifically with respect to document --

   10           excuse me, Exhibit 19, are you referring to the

   11           number 00121171240000040?

   12     A.    Yes, ma'am.

   13     Q.    Based on your experience working with the AES

   14           database, does this appear to be a document

   15           that's produced in the ordinary course?

   16     A.    If the financial activity or something along

   17           those lines is requested from AES, yes, they

   18           would send this letter out with the transactions

   19           identified.      It is not something that's

   20           proactively sent by AES.

   21     Q.    So did First Marblehead represent to you that the

   22           database that contained information used to

   23           create the loan financial activity which is

   24           Deposition Exhibit 8 was based on their

   25           extraction of AES records and passing them onto

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    1           you?

    2                  So, in other words, did First Marblehead

    3           collect all the relevant AES records, put them

    4           into a database, and then pass them along to you;

    5           or did the documents go direct -- the information

    6           go directly from AES to Transworld Systems?

    7     A.    For this particular loan the records would have

    8           went from AES to First Marblehead Education

    9           Resources as of April of 2012.            And then when

   10           First Marblehead stepped down and NCO was put in

   11           place as the special servicer in November 1 of

   12           2012, those records were transferred from First

   13           Marblehead to NCO.

   14     Q.    I'm going to have to read the transcript to

   15           remember that.

   16                  MR. SHARTLE:     Do you want to --

   17     BY MS. DILL:

   18     Q.    We're -- let's go back to Deposition Exhibit 8

   19           for a minute.       There is something on here that

   20           you said indicated when First Marblehead had --

   21           control might not be the right legal word, but

   22           had -- was supervising or -- I don't know what

   23           the word is.

   24                  Didn't you tell me that the loan was serviced

   25           for a short time by First Marblehead?

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    1     A.    Yes, ma'am.

    2     Q.    And then AES --

    3     A.    AES, and then First Marblehead, and then NCO.

    4     Q.    Okay.     And how do you know that based on looking

    5           at Deposition Exhibit 8?

    6     A.    The loan charged off in April of 2012.

    7     Q.    Yes?

    8     A.    That was prior to NCO becoming servicer.                The

    9           servicer at that time for defaulted loans was

   10           First Marblehead Education Resources.

   11     Q.    Okay.     And so if -- if TERI had, in fact, paid

   12           off the loan in April of 2012, it would have been

   13           at the time that First Marblehead was the

   14           servicer?

   15     A.    No.     They would have paid off to AES.

   16     Q.    Oh, I thought you said it was April of 2012 when

   17           it went --

   18     A.    Once it charged off, it went to First Marblehead

   19           for servicing.       Had TERI paid it off, they would

   20           have paid it off at the time of the acceleration

   21           and charge-off of the loan.           So it would have

   22           never went to First Marblehead.            It would have

   23           went from AES to TERI.

   24     Q.    And when you talked about it, it is this

   25           electronic system of records.            Correct?

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    1     A.    It would be the electronic records of the

    2           individual loan.

    3     Q.    Okay.    Is it possible that the electronic record

    4           went both to TERI and to First Marblehead?

    5     A.    No.

    6     Q.    How is that?

    7     A.    Because at this time TERI was out of the picture

    8           for a period of years.         All the loan records that

    9           charged off went to First Marblehead at this

   10           time.

   11     Q.    And your understanding of what was going on with

   12           TERI is based on your conversations with the

   13           lawyer at First Marblehead and others?

   14     A.    Yes, ma'am.

   15     Q.    Do you have any legal training when it comes to

   16           bankruptcy?

   17     A.    Not formal.

   18     Q.    Have you ever looked at any of the bankruptcy

   19           records that relate to TERI?

   20     A.    Yes, ma'am.

   21     Q.    Which ones?

   22     A.    I mean, I have reviewed the entire docket.                 I

   23           haven't read every filing, but --

   24     Q.    You reviewed the entire docket?

   25     A.    Yes, ma'am.

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    1     Q.    And it's -- and it's still -- it's your belief

    2           that after they filed bankruptcy in 2008 and the

    3           reserves dried up, they no longer paid off any

    4           loans?

    5     A.    Once the reserves dried up, that is correct -- or

    6           not the reserves, the pledged accounts.

    7                 MR. SHARTLE:      Can we take a break?

    8                 MS. DILL:     Sure.

    9                 MR. MCKINLEY:       Sure.

   10                     (A short recess was taken.)

   11     BY MS. DILL:

   12     Q.    Looking, again, at Deposition Exhibit 19, you

   13           testified that the number at the bottom of the

   14           page refers to correspondence.            And my question

   15           is is the document attached to the first page

   16           Bates stamped 76 and 77, is this information that

   17           TSI has access to without special application?

   18     A.    The information contained it has access to.                 It's

   19           actually -- the information other than the

   20           transaction types, being numerical values, is the

   21           information that's contained in the loan

   22           financial activity, which we have previously

   23           discussed.

   24     Q.    With the exception being also that the payment on

   25           April 2, 2012, in the AES documents describe it

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    1           as a guarantor pay; and in the documents that

    2           were produced by TSI for this litigation,

    3           Deposition Exhibit 10 -- oh, no.            Sorry about

    4           that.

    5                 Where did my payment schedule go?

    6                 Oh, I'm all unorganized.

    7                 MR. SHARTLE:      It's page 39, Exhibit 8.

    8                 Do you want it?

    9                 Here, you can use mine.

   10                 MS. DILL:     Sorry.

   11                     (Discussion off the record.)

   12     BY MS. DILL:

   13     Q.    Looking at Deposition Exhibit 19 and Deposition

   14           Exhibit 8, would you agree with me that the

   15           difference is that the payment of $15,786.39 on

   16           April 2, 2012, is described by AES as guarantor

   17           pay; and on -- on Deposition Exhibit 19.                And on

   18           Deposition Exhibit 8 is described, in your words,

   19           as a charge-off.        Right?

   20     A.    That's accurate.

   21     Q.    And there's a difference between a guarantor pay

   22           and a charge-off.        Right?

   23     A.    Yes, ma'am.

   24     Q.    So did Transworld Systems have the information

   25           that's contained in Deposition Exhibit 19 with

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    1           respect to the guarantor pay when it produced

    2           Deposition Exhibit 8 for purposes of this

    3           litigation?

    4     A.    No, ma'am.

    5     Q.    How do you know that?

    6     A.    As stated, we don't have the -- this document.

    7           This document actually did not exist until May 5

    8           of 2017 as dated on the letter.

    9     Q.    Okay.    But none of these documents really

   10           existed, did they, before they were printed?                 Is

   11           that fair?

   12                 MR. SHARTLE:      Objection to the form and

   13           mischaracterization.

   14     A.    I'm uncertain how AES produced or compiled what

   15           they included in their letter.

   16     Q.    You were trained on the AES system?

   17     A.    Yes, ma'am.

   18     Q.    And when you were trained on the AES system, did

   19           they talk about how they document a loan that's

   20           purchased by TERI?

   21     A.    No, ma'am.

   22     Q.    So they didn't train you on that or they don't do

   23           it?

   24                 That's a bad question.         Forget it.

   25                 You have already testified you did not get

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    1           training from AES on how it documents loans that

    2           are paid off by TERI.         Is that fair?

    3     A.    That is fair.

    4     Q.    Has anyone at TSI been trained in that regard

    5           that you're aware of?

    6     A.    No, ma'am.

    7     Q.    Is this the first time you have been made aware

    8           that this loan is represented by AES to have been

    9           purchased by TERI?

   10                 MR. SHARTLE:      Objection.      Are you

   11           testifying to what the document says?

   12                 Do you know what that code means?

   13     BY MS. DILL:

   14     Q.    You can answer the question.

   15                 MR. SHARTLE:      If you understand the

   16           question.

   17     A.    Can you rephrase it, please.

   18     Q.    Is this the first time that you have been made

   19           aware that AES has a document that states on

   20           April 2, 2012, guarantor pay, $15,786.39 was

   21           credited to this account?

   22     A.    This is the first time I'm seeing this document.

   23     Q.    Is it the first time you have been made aware

   24           that there's a possibility that the loan was

   25           purchased by TERI?

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    1                 MR. SHARTLE:      Objection,

    2           mischaracterization of the evidence.              Assumes

    3           facts not in the record.

    4     A.    This is the first time I'm made aware that AES

    5           had a transaction of guarantor pay for that date.

    6     Q.    Have you ever seen that description of a

    7           transaction before, guarantor pay?

    8     A.    Not to my recollection.

    9     Q.    So when you have accessed the AES database for

   10           purposes of preparing for today's deposition,

   11           what information did you review?

   12     A.    I reviewed their database, including the

   13           screens that were printed out and that we have

   14           discussed previously, their account notes which

   15           notate any -- any correspondence, telephone

   16           calls, letters being mailed out, correspondence

   17           being received.

   18     Q.    Would you say that you did a thorough review of

   19           all of the information available that you had

   20           access to with respect to this loan?

   21     A.    Yes, ma'am.

   22     Q.    And is it fair that the information that you

   23           reviewed did not include any notations about

   24           guarantor pay?

   25     A.    From my review, that is -- that is fair.

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    1     Q.    Now, if you had wanted to do additional research

    2           in AES and find out if TERI had bought this loan,

    3           could you have?

    4     A.    I don't think I could have reviewed anything

    5           additionally.

    6     Q.    Okay.    So you did a pretty much exhaustive search

    7           of the information available to you --

    8     A.    I believe so.

    9     Q.    -- is that fair?

   10                 And it did not include information about

   11           guarantor or TERI being paid or purchasing the

   12           loan?

   13     A.    No, ma'am.

   14     Q.    So when was it that the decision was made to

   15           begin a lawsuit for -- two lawsuits against Sarah

   16           Thurlow and Vickie McMullen?

   17     A.    Well, as previously stated, the account was

   18           placed in April of 2015 to Ratchford Law Group

   19           which then began to attempt to collect on the

   20           loan.    When they made the decision to file suit

   21           I'm unaware of.

   22     Q.    I'm sorry.      It was April of 2015?

   23     A.    Yes, ma'am.

   24     Q.    Now, prior to Ratchford Law Group, were there

   25           other debt collection agencies that were hired by

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    1           TSI to collect this debt?

    2     A.    Yes, ma'am.

    3     Q.    Which ones?

    4     A.    I don't recall.

    5     Q.    Was it Daggett & Parker?

    6     A.    I believe so.

    7     Q.    I'm going to direct your attention to Exhibit 16

    8           and 17.     Have you ever seen these documents

    9           before?

   10     A.    I remember seeing 17 before.           I don't recall

   11           seeing 16.

   12     Q.    Are they documents that are contained in the TSI

   13           file that you reviewed in preparation for today's

   14           deposition?

   15     A.    Exhibit 17 was part of the litigation file.                 I

   16           believe it was filed in support of a motion to

   17           set aside or vacate a judgment.            16, like I said,

   18           I don't think I have ever seen it.

   19     Q.    Is there information in the TSI database

   20           suggesting that Daggett & Parker, attorneys at

   21           law, were hired to collect these debts?

   22     A.    Yes, ma'am.

   23     Q.    Where in your system is that information

   24           maintained?

   25     A.    Well, we have the legal screen, which is what we

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    1           call it in CRS, that identifies any law firms

    2           that the account was placed with and timeframes

    3           for which those placements occurred.

    4     Q.    Other than Daggett & Parker and Ratchford Group,

    5           any other law firms hired to collect this debt?

    6     A.    Not to my knowledge.

    7     Q.    So is it fair to say that Daggett & Parker were

    8           unsuccessful in collecting the two loans

    9           allegedly made to Sarah Thurlow?

   10     A.    Yes, they did not recover any funds on the loan.

   11           So I would say they were unsuccessful.

   12     Q.    And did they have a certain amount of time in

   13           which to attempt to collect money?

   14     A.    No, ma'am.

   15     Q.    What are the terms of Transworld Systems hiring

   16           Daggett & Parker?

   17     A.    Can you clarify that?

   18     Q.    How long did Daggett & Parker represent National

   19           Collegiate Student Loan Trust 2007-1 and 2006-3?

   20     A.    I don't recall.

   21     Q.    Other than sending the letters that are

   22           Deposition Exhibit 16 and 17, are you aware of

   23           any other debt collection activity performed by

   24           Daggett & Parker with respect to these two loans?

   25     A.    I'm not aware of any.

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    1     Q.    Why was the -- why were the loans transferred for

    2           collection purposes from Daggett & Parker to the

    3           Ratchford Law Group?

    4     A.    I don't know.

    5     Q.    Does your compensation depend in any way on the

    6           amount of loan proceeds collected by TSI?

    7     A.    My compensation -- personal compensation?

    8     Q.    Yes.

    9     A.    No, ma'am.

   10     Q.    Do you know why in Deposition 16 and 17 Daggett &

   11           Parker stated that the borrowers had paid a total

   12           of zero towards the above claim?

   13     A.    No, ma'am.

   14     Q.    Would you agree with me that that's not a true

   15           statement?

   16     A.    If I read that to say have they ever paid

   17           anything, yes; that's an incorrect statement.                  I

   18           could read it to say that they paid Daggett &

   19           Parker zero dollars toward the claim, for which

   20           that would be an accurate statement.

   21                  It says, according to our records -- Daggett

   22           & Parker's records -- they never received a

   23           payment.     So that would be accurate.

   24     Q.    Did Transworld Systems ever hire EOS CCA to

   25           collect these loans?

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    1     A.    No, ma'am.

    2     Q.    Do you know what EOS CCA is?

    3     A.    No, ma'am.

    4     Q.    Did Transworld Systems ever hire National

    5           Enterprise Systems, Inc., to collect these loans?

    6     A.    I don't know.       They are one of our agencies.

    7     Q.    When you prepared for today's deposition and

    8           looked at the legal screen, do you recall if any

    9           others were retained to collect these loans

   10           besides Daggett & Parker, Ratchford Law Group,

   11           and possibly National Enterprise System?

   12     A.    Well, the legal screen would only be the law

   13           firms.    And those were -- from my review was only

   14           Daggett & Parker and Ratchford Law Group.                There

   15           is a different screen that identifies traditional

   16           agencies that aren't law firms.

   17                 I don't recall which agencies off the top of

   18           my head these loans were placed with.

   19     Q.    These are debt collection agencies?

   20     A.    Yes, ma'am.

   21     Q.    Does Transworld Systems make decisions about the

   22           litigation of these loans?

   23                 MR. SHARTLE:      Object to the form.

   24     A.    Can you clarify that, please.

   25     Q.    In this case the -- well, let me ask you this.

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    1           It's true, isn't it, that these two loans that

    2           Sarah Thurlow, now Sara Coffey, allegedly took

    3           out were serviced together.           Right?

    4     A.    I don't think I understand serviced together.

    5     Q.    Well, she just made one payment; and it was

    6           applied to both loans.         Right?

    7     A.    She made -- the payments were applied based on

    8           her direction to AES.         So she could have directed

    9           AES to apply all of the payments to one

   10           particular loan or to split it up evenly or pro

   11           rata.    There's different options in AES for

   12           payment.

   13     Q.    How would she have done that?

   14     A.    Well, I believe at least the most recent payments

   15           were web pays, so online.          And there's different

   16           radial buttons to click, or there's another

   17           amount that she can actually type in an amount to

   18           be applied to each loan.

   19     Q.    So when I asked you if the loans were serviced

   20           together, that's not a -- that's not something

   21           you understand and can answer?

   22     A.    I didn't understand exactly what you meant by

   23           that.    They were both serviced by AES for -- from

   24           disbursement until charge-off.            They charged off

   25           on the same day, but they were disbursed on

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    1           different days.

    2                 So the first loan would have been serviced

    3           independently since the second loan didn't exist.

    4           But since they charged off on the same day,

    5           thereafter they followed the same servicing

    6           pattern by being serviced by First Marblehead

    7           Education Resources and then to NCO and

    8           ultimately to TSI.

    9     Q.    Whose decision was it to file separate lawsuits?

   10     A.    I don't know.

   11     Q.    Is it Transworld Systems' custom and practice to

   12           file an individual lawsuit for each individual

   13           loan?

   14     A.    So long as the loans are owned by different legal

   15           entities, yes, ma'am.

   16     Q.    And it's your testimony that in these cases,

   17           15-324 and 15-326, the loans are owned by

   18           different entities?

   19     A.    Yes, ma'am.

   20     Q.    Who do you believe owned the loans in the case

   21           15-324?

   22     A.    15-324 was our first loan.           So National

   23           Collegiate Student Loan Trust 2006-3.

   24     Q.    And who do you believe is the owner of the

   25           15-326?

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    1     A.    National Collegiate Student Loan Trust 2007-1.

    2     Q.    And those trusts are contracted with U.S. Bank

    3           who then contracts with you to collect the loans?

    4     A.    To service the loans -- the defaulted portion of

    5           loans.

    6     Q.    Do you have any interaction with the trusts in

    7           your day-to-day business?

    8                 MR. SHARTLE:      Object to the form.

    9     A.    The individual trusts, no.           I mean, they have no

   10           employees.      We contract and review with their

   11           servicers and trustees.

   12     Q.    How many lawsuits has the Ratchford Law Group

   13           been hired to file in the State of Maine?

   14                 MR. SHARTLE:      Object to the form and

   15           outside the scope of the notice.

   16     A.    I wouldn't say Ratchford Law Group is hired to

   17           file suits.      They're hired to collect.             They have

   18           the ability to file a suit if they deem it

   19           necessary, but I would not be able to estimate

   20           how many lawsuits they filed.

   21     Q.    In these two cases that have not been

   22           consolidated, it is your intent to prove

   23           ownership of the loan.         Correct?

   24     A.    Yes, ma'am.

   25     Q.    And how much you believe is owed on each loan.

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    1           Correct?

    2     A.    Yes, ma'am.

    3     Q.    Is there any evidence that you have of ownership

    4           other than the evidence you presented to the

    5           district court in the motions for summary

    6           judgment and motions for default judgment?

    7                 MR. SHARTLE:      Objection.      It's going to

    8           call for a legal conclusion.

    9     A.    I don't believe we have looked at any documents

   10           in support of a motion for default judgment.                   But

   11           the documents attached to the affidavit in

   12           support of motion for summary judgment would be

   13           the chain of title documents that we would rely

   14           on to prove ownership.

   15     Q.    And in the second case, if you look at Deposition

   16           Exhibit 13, you were designated by National

   17           Collegiate Student Loan Trust 2007-1 to appear

   18           today to give testimony about the verification of

   19           account signed by James Cummins dated January 19

   20           and the exhibits and the reporting by the

   21           plaintiff, which is National Collegiate Student

   22           Loan Trust or its agents, of adverse credit

   23           information to credit reporting agencies.                Are

   24           you prepared to do that today?

   25     A.    Yes, ma'am.

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    1     Q.    Okay.    So with respect to this loan that is the

    2           subject of 15-326, would you agree with me that

    3           the affidavit and verification of account signed

    4           by James Cummins in this case is, with the

    5           exception of amounts and dates, identical to the

    6           one in the 15-324 case?

    7     A.    Other than the amounts, the dates, and the

    8           plaintiff, they appear to be identical.

    9     Q.    And with respect to this matter -- by that I mean

   10           the 2007-1 NCSL loan -- are there any records

   11           that are not electronic with respect to this

   12           loan?

   13     A.    This would be similar to the first line that we

   14           discussed.      All our records in TSI's possession

   15           would be in electronic format.

   16     Q.    And what do you know about the record management

   17           practice of the trusts themselves?

   18     A.    Well, the trusts delegate all record management

   19           practices to either AES for the predefault

   20           servicing or to, now, TSI as the post-default

   21           servicing.

   22     Q.    And the note that was appended to Mr. Cummins's

   23           affidavit in support of the trust's motion for

   24           default judgment is only the first page.

   25           Correct?

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    1     A.    It's the signature page of the nonnegotiable

    2           credit agreement along with the note disclosure

    3           statement.

    4     Q.    And the signature page is not the complete loan

    5           document.     Correct?

    6                 MR. SHARTLE:      Objection.

    7     A.    It's the signature page.          The loan document also

    8           references and it incorporates some terms and

    9           conditions as well as the note disclosure

   10           statement.

   11     Q.    Okay.    And the terms and conditions though are

   12           not attached to the document; is that true?

   13     A.    That's correct.

   14     Q.    Okay.    Oh, here at the top of the page, if you

   15           look at page 65 -- Bates stamped 65, this is

   16           where there was a reference to Mechanics Savings

   17           Bank at the top.

   18     A.    Yes, ma'am.

   19     Q.    Do you believe that that may have been where the

   20           loan originated?

   21                 MR. SHARTLE:      Object to the use of the

   22           form originated.

   23     A.    I don't believe so.

   24                 MR. SHARTLE:      You're talking about the

   25           reference to Mechanics Savings Bank?

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    1                 MS. DILL:     Uh-huh.     Yes.

    2     BY MS. DILL:

    3     Q.    Now, the terms and conditions that were attached

    4           to the nonnegotiable credit agreement that

    5           appears as Deposition Exhibit 18 on page 2 has a

    6           variable rate that can't exceed the State of

    7           Rhode Island.       Did I read that correctly?

    8     A.    Yes, ma'am.

    9     Q.    Now, how do you know if, in fact, those are the

   10           terms and conditions that were agreed to by Sarah

   11           Thurlow?

   12     A.    I believe it's actually like the previous line we

   13           just discussed.       It appears that these terms

   14           aren't the ones that go to this because these

   15           terms are the RBS Citizens version, not the

   16           Charter One version.

   17     Q.    And so, again, I'm just trying to understand

   18           if -- if the -- the affiant in this case,

   19           Mr. Cummins, it was not him who attached the loan

   20           note agreement to his affidavit.            Right?

   21                 It was somebody in the affidavit production

   22           team?

   23     A.    Correct.     But Exhibit 18 wasn't attached to the

   24           affidavit or reviewed by Mr. Cummins.

   25     Q.    Right.     Right.    But the person who attached the

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    1           loan note to the Cummins affidavit, whoever that

    2           was --

    3                 MR. SHARTLE:      Are we switching from the

    4           attachment to the complaint now to a

    5           different attachment, just so the record is

    6           clear?

    7                 MS. DILL:     Bear with me.

    8     BY MS. DILL:

    9     Q.    The person who attached the nonnegotiable credit

   10           agreement to the Cummins affidavit which appears

   11           at Bates stamped page 65, my question is is it

   12           the same person who attaches the loans to the

   13           complaint?

   14     A.    No, ma'am.

   15     Q.    Who is responsible for attaching a true copy of

   16           the loan agreement to the complaint?

   17     A.    I don't know about a true copy.            It's in the

   18           firm's discretion on whether they attach the

   19           credit agreement to the complaint or not,

   20           depending on various state laws and pleading

   21           requirements.

   22                 In this case it would have been Ratchford Law

   23           Group to attach and compile the documents that is

   24           your Deposition Exhibit 18.

   25     Q.    And does the Ratchford Law Group get its

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    1           documents from Transworld Systems directly, or

    2           does the Ratchford Law Group have access to the

    3           AES database and the CRS database and the --

    4     A.    The Media Locator.

    5     Q.    -- Media Locator?

    6                 Thank you.

    7     A.    You're welcome.

    8                 So at placement -- at time of placement to

    9           the Ratchford Law Group, they would have

   10           received -- actually, they would have received

   11           what was attached to the Cummins affidavit, your

   12           Deposition Exhibit 15.         They would have received

   13           the signature page of the credit agreement and a

   14           note disclosure statement.           They also have in

   15           their possession copies of what we call the term

   16           library, which is a zip file containing all the

   17           terms and conditions for the loans, the various

   18           programs, various program years.

   19                 So what it appears that they did on this case

   20           is they took the documents that we gave them,

   21           matched them up -- or attempted to match them up

   22           with the term library and pull in the proper

   23           terms.    And they -- looks like they made a

   24           mistake and pulled in the RBS Citizens Charter

   25           terms as opposed to just the Charter One terms.

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    1                 They pulled in the right term code and term

    2           year end for the program; they just pulled in the

    3           RBS Citizens version as opposed to the Charter

    4           One version.

    5     Q.    Is this library that you just described that has

    6           the different terms and conditions for the

    7           different lenders something that is contained

    8           within one of those databases that we have talked

    9           about?

   10     A.    No, ma'am.      It's separate and apart from.            It's

   11           stored just like the schedule documents that we

   12           were referring to.        They're originally given to

   13           NCO, stored our server.          And then from our

   14           server, we then transfer copies of those terms to

   15           our law firms for them to use.

   16     Q.    So how does Ratchford have access to the library

   17           then if you transfer the documents to them?                 Does

   18           Ratchford have access to your database and

   19           server?

   20     A.    No, ma'am.      The copies -- that term library, a

   21           copy of it was electronically transferred to them

   22           through a secure site for them to pull down and

   23           then store on their servers.

   24     Q.    So in the complaint for this matter, the 2007-1

   25           National Collegiate Student Loan Trust, it states

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    1           that as of June 26, the amount of $11,645.27 is

    2           due -- June 26, 2015.

    3     A.    Can you repeat that amount?

    4     Q.    As of June 26, 2015, $11,645.27.

    5     A.    Okay.

    6     Q.    Now, what was the date that you said you stopped

    7           accruing interest for purposes of collection?

    8     A.    Well, for the first case it was April -- it was

    9           in April of 2015.        This case, I don't have a

   10           document in front of me to verify the actual date

   11           that the account was placed to the law firm.

   12     Q.    Okay.    Then let's look at the other case for a

   13           minute because I'm just a little confused.

   14                 Give me a minute.

   15                 So the complaint in the case brought by

   16           National Collegiate Student Loan Trust 2006-3

   17           says that as of June 26, 2015, the defendants owe

   18           $18,639.96, which is the amount that appears in

   19           the Holiday affidavit.

   20     A.    Yes, ma'am.      As well as the Cummins affidavit.

   21     Q.    Right.    And your explanation for that is that --

   22     A.    That was the amount that was due on the account,

   23           the principal and interest, as of the time that

   24           it was placed to the law firm, the law firm

   25           being Ratchford Law Group, which was in April

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    1           of 2015.

    2     Q.    And why is that again?

    3                 MR. SHARTLE:      Object to the form.            Why

    4           is what?

    5     BY MS. DILL:

    6     Q.    Why is it that you would stop accruing interest

    7           on the date that the case gets referred to a law

    8           firm?

    9                 MR. SHARTLE:      Objection, asked and

   10           answered.

   11     A.    It was a business decision just to seek an amount

   12           certain instead of continuing to accrue interest

   13           through --

   14     Q.    Is it -- sorry.       Go ahead.

   15                 Isn't the reason that you wanted an amount

   16           certain is because you were hoping to get a

   17           default judgment?

   18                 MR. SHARTLE:      Objection, argumentative.

   19     A.    Absolutely not.

   20     Q.    No?

   21     A.    No, ma'am.

   22     Q.    What would be the reason why the National

   23           Collegiate Student Loan Trust would just forego

   24           accruing interest from the time that --

   25                 MR. SHARTLE:      Objection.

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    1     BY MS. DILL:

    2     Q.    -- the case is transferred to the law firm?

    3                 MR. SHARTLE:      Objection, asked and

    4           answered.     If you're going to continue

    5           badgering the witness, he's already answered

    6           this question multiple times.            He told you it

    7           was a business decision.

    8     A.    It was just a business decision, an internal

    9           decision made.

   10     Q.    And I don't recall if you said -- were you part

   11           of that decision?

   12                 MR. SHARTLE:      Objection, asked and

   13           answered.

   14     A.    I was part of the conversations.

   15     Q.    So if you're successful in this case, is it your

   16           testimony that the plaintiffs -- or, excuse me,

   17           the defendants in this case will owe $18,639.96?

   18     A.    If successful, that's what the prayer would ask

   19           for for the judgment.

   20     Q.    Your testimony today is that interest stopped

   21           accruing when the file was transferred to the law

   22           firm?

   23     A.    That was not my testimony.           I said we stopped

   24           seeking the recovery of that interest.                 The

   25           interest continues to accrue.            We're just not

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    1           seeking it.

    2     Q.    Is that true in all of the collection cases that

    3           you are involved with for Transworld Systems?

    4     A.    When they get forwarded to a law firm, yes,

    5           ma'am.

    6     Q.    Has Transworld Systems been sued for

    7           robo-signing?

    8                 MR. SHARTLE:      Objection, outside the

    9           scope of the notice.         Objection to use of the

   10           term robo-signing.

   11     A.    I'm uncertain.

   12     Q.    Do you know what robo-signing is?

   13     A.    Generally speaking.

   14     Q.    How would you describe robo-signing?

   15     A.    Signing documents without proper validation or

   16           verification of materials contained therein.

   17     Q.    Do you believe that -- at the time that the

   18           document that's been marked Exhibit 4 signed by

   19           Alicia Holiday was signed without her confirming

   20           the information contained therein?

   21     A.    That is not my belief.

   22     Q.    Now, is Transworld Systems -- did it file a proof

   23           of claim in the TERI bankruptcy case?

   24     A.    Trans --

   25                 MR. SHARTLE:      Objection, outside the

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    1           scope of the notice.

    2     A.    I'm uncertain.

    3     Q.    Who was responsible for documenting when Sarah

    4           Coffey, identified as Sarah Thurlow in the

    5           complaint, made a payment?

    6                  MR. SHARTLE:     Objection for lack of time

    7           frame.

    8     A.    Yes.     The responsible party would defend who the

    9           payment was made to.

   10     Q.    The servicer; is that fair?

   11     A.    So if you're talking about the payments that were

   12           actually made, those were made to AES; and AES

   13           would be responsible for logging those payments

   14           in.

   15                     (Discussion off the record.)

   16     BY MS. DILL:

   17     Q.    Let's take a break; and let me just get my

   18           documents in order and go through my notes and

   19           see what questions I have remaining, if that's

   20           okay.

   21                     (Discussion off the record.)

   22                     (A short recess was taken.)

   23     BY MS. DILL:

   24     Q.    I just need to -- there's four areas that I need

   25           to, hopefully briefly, explore with you.

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    1                  Starting with the Consumer Finance Protection

    2           Bureau, are you aware of any investigation or

    3           proceedings that the Consumer Financial

    4           Protection Bureau is undergoing with respect to

    5           Transworld Systems?

    6                  MR. SHARTLE:     Objection, outside the

    7           scope of the notice.         And I think this is

    8           way, way outside the scope.

    9     BY MS. DILL:

   10     Q.    You may answer the question.

   11     A.    I --

   12                  MR. SHARTLE:     I'm going to instruct the

   13           witness not to -- in fact, I think that to

   14           the extent there were such an investigation,

   15           any discussions regarding the investigation

   16           are privileged and confidential.

   17     A.    I can't comment on it.

   18                  MR. SHARTLE:     Yes.

   19     BY MS. DILL:

   20     Q.    Have you been asked to produce documents for

   21           purposes of any investigation by the Consumer

   22           Finance Protection Bureau?

   23                  MR. SHARTLE:     Objection, assumes

   24           evidence not in the record.

   25                  And, again, I think any testimony to the

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    1           extent there were such an investigation would

    2           be privileged --

    3                 MS. DILL:     Well --

    4                 MR. SHARTLE:      -- and confidential.

    5     A.    I'm not going to answer that question.

    6                 MR. SHARTLE:      Outside of the scope of

    7           the notice, too.

    8     BY MS. DILL:

    9     Q.    Has Transworld Systems received a NORA from the

   10           Consumer Financial Protection Bureau?

   11                 MR. SHARTLE:      Same objections.

   12     A.    I can't answer that.

   13     Q.    Have you given sworn testimony to the Consumer

   14           Financial Protection Bureau in connection with

   15           your job at Transworld Systems?

   16                 MR. SHARTLE:      Same objection.

   17     A.    I can't answer that.

   18     Q.    That's actually a perfectly appropriate question.

   19                 MR. SHARTLE:      It is?     It's within the

   20           scope of your notice?

   21                 Okay.     Let's take it up with the judge.

   22                 MS. DILL:     If the basis of your

   23           objection is that it's not within the scope

   24           of the notice, then I --

   25                 MR. SHARTLE:      It's multiple objections.

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    1                 MS. DILL:     Okay.    But one of them is

    2           instructing the witness not to answer.                 And

    3           to the extent that you're claiming a

    4           privilege, I think it's pretty obvious that

    5           there is no attorney-client privilege between

    6           this witness and the Consumer Financial

    7           Protection Bureau.        Would you agree with me?

    8                 MR. SHARTLE:      We'll take it up with the

    9           judge.    It's outside the scope of your

   10           notice.

   11                 I have let you go way, way outside most

   12           of the day.      Now, you're just fishing.

   13     BY MS. DILL:

   14     Q.    Are you going to not answer any questions about

   15           the Consumer Financial Protection Bureau

   16           investigation?

   17                 MR. SHARTLE:      We're not acknowledging

   18           that such an investigation exists.             But to

   19           the extent it would, any communications, any

   20           discussions relating to an investigation

   21           would be privileged.

   22                 MS. DILL:     So we can agree we'll keep

   23           the deposition open then pending --

   24                 MR. SHARTLE:      We're not agreeing to

   25           anything.     We're agreeing that you're outside

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    1           the scope of the notice, yeah.

    2                 MS. DILL:     We'll keep the deposition

    3           open pending a determination by the judge of

    4           whether or not you have to answer the

    5           questions.      But in the meantime, let me move

    6           on to the next topic, which is credit

    7           reporting.

    8     BY MS. DILL:

    9     Q.    Who reports credit information on behalf of the

   10           trusts to the credit reporting agencies?

   11     A.    Well, currently for these two loans no one is.

   12           There's no active trade lines being reported to

   13           any of the credit reporting agencies.

   14     Q.    What did you call them, active what?

   15     A.    Trade lines.

   16     Q.    Tread or trade?

   17     A.    Trade.

   18     Q.    What is an active trade line?

   19     A.    A trade line is the information that's reported

   20           to the credit reporting agencies.             Active means

   21           that it's still being reported.

   22     Q.    Would you agree with me that there were active

   23           trade lines at some point with respect to these

   24           two loans and my clients?

   25     A.    Yes, ma'am.

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    1     Q.    And who made the reports to the credit reporting

    2           agencies at the time that they were made?

    3     A.    Well, going back to the loan origination, they

    4           would have been reported by AES all the way

    5           through the time that it defaulted, at which

    6           point the post-default servicer would be

    7           responsible for either reporting or facilitating

    8           the reporting of that.

    9                 As it relates to First Marblehead Education

   10           Resources for the short time period that they

   11           serviced the loan, I'm uncertain that they

   12           reported or anyone on their behalf reported.                 As

   13           soon as it came over to NCO, the accounts were

   14           then transferred to various collection agencies.

   15           I don't recall which ones.           But those agencies

   16           would be responsible for reporting the loan while

   17           they had the account in their system.

   18                 Once the account was recalled, their practice

   19           is to delete that trade line.            And then it

   20           goes --

   21     Q.    Whose practice?

   22     A.    The agencies.       It's actually a contractual

   23           obligation of the agencies to report while they

   24           have it.     Once the account is recalled, then they

   25           delete that trade line.

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    1     Q.    So if in this case an adverse account was

    2           identified in September of 2016, who would have

    3           reported that to the credit reporting agencies?

    4     A.    Can you clarify what you mean by adverse account?

    5     Q.    Adverse account is a term of art used by

    6           TransUnion to describe accounts of consumers that

    7           are purported to be in default.            And if there was

    8           a report to TransUnion that the two loans that

    9           you have alleged are owned by National Collegiate

   10           Student Loan Trust 2006-1 and 2007 -- the other

   11           one.

   12     A.    2006-3 and 2007-1.

   13     Q.    Thank you.

   14     A.    You're welcome.

   15     Q.    If there was a report that those two loans were

   16           in default in September of 2016, who would have

   17           made that report?

   18     A.    I can speculate.        I'm not sure I follow exactly

   19           what you're asking.

   20     Q.    If Sarah Thurlow -- Coffey -- Sarah Thurlow, also

   21           known as Sarah Coffey, opened her credit report

   22           in September of 2016 and saw two National

   23           Collegiate Student Loan Trusts were identified to

   24           be in default and identified as an adverse

   25           account, what I'm asking you is do you know who

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    1           would have transferred that information to the

    2           credit reporting agency at that time?

    3     A.    I believe those trade lines would have been

    4           reported by AES.

    5     Q.    And what is the -- well, strike that.

    6                  Does Transworld Systems have a contract with

    7           credit reporting agencies?

    8     A.    I'm not sure if there's a contract between the

    9           two.

   10     Q.    Does Transworld Systems do any credit reporting?

   11     A.    Yes, ma'am.

   12     Q.    What is the policy around reporting to a credit

   13           reporting bureau that loans are in default?

   14                     (There was an interruption.)

   15     A.    Can you repeat that, please?

   16     Q.    Is there a policy that Transworld Systems has

   17           with regard to reporting defaulted loans to

   18           credit reporting agencies?

   19     A.    Yes, ma'am.

   20     Q.    Where is that policy located?

   21     A.    It's within our company policies.

   22     Q.    Is it a written policy?

   23     A.    Yes, ma'am.

   24     Q.    Do you know -- I'll ask for it in a specific

   25           document request; but just as we sit here today,

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    1           do you know generally what it says?

    2     A.    Generally, yes.       Specifics, I don't recall.            It's

    3           been awhile since I looked at that policy.

    4     Q.    Would you agree with me that it would be a

    5           violation of the Fair Credit Reporting Act to

    6           report to a credit agency that loans were in

    7           default that were not in default?

    8                 MR. ALLTMONT:       Objection, calls for a

    9           legal conclusion.

   10     A.    I would agree that it would be a potential

   11           violation to report inaccurate information to a

   12           credit reporting agency.

   13     Q.    The -- I want to talk just briefly about the

   14           relationship between U.S. Bank -- and

   15           specifically, again, I would like to draw your

   16           attention to Deposition Exhibit 5.             I believe you

   17           described earlier that U.S. Bank contracts with

   18           Transworld Systems on behalf of the trusts.                 Is

   19           that fair?

   20     A.    Yes, ma'am.

   21     Q.    And on Exhibit 5 there's another organization

   22           identified, GSS Data Services, Inc.             Do you see

   23           that?

   24     A.    Yes, ma'am.

   25     Q.    Who is that?      What is that?

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    1     A.    GSS is Goal Structured Solutions Data Services,

    2           Inc.     And they are the trust administrator or the

    3           administrator for the various trusts that are

    4           identified on Deposition Exhibit 5.

    5     Q.    What is a trust administrator, as far as you

    6           know?

    7     A.    A trust administrator handles the financials for

    8           the trust along with the -- with the bondholders.

    9     Q.    Is the contract that U.S. Bank has with

   10           Transworld Systems a written contract?

   11     A.    Yes, ma'am.

   12     Q.    And I think you said earlier that you have looked

   13           at it?

   14     A.    Yes, ma'am.

   15     Q.    How long is it?

   16     A.    I don't recall.

   17     Q.    When is the last time you looked at it?

   18     A.    I have referenced it within the last three weeks

   19           probably.

   20     Q.    For what purpose?

   21     A.    I don't recall.

   22     Q.    You were here in November when U.S. Bank had a

   23           hearing on its motion to dismiss in another case

   24           involving National Collegiate Student Loan Trust

   25           and Sarah Thurlow and Vickie McMullen.                 Do you

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    1           recall that?

    2     A.    I believe at the time Sarah Thurlow and Vickie

    3           McMullen were not actual plaintiffs, but I do

    4           remember attending a hearing.

    5     Q.    And what was -- in what capacity were you

    6           attending the hearing at that point?

    7     A.    A representative of Transworld Systems, who is

    8           also a defendant in that case.

    9     Q.    The -- just going over what I think you said were

   10           the various sources of information regarding

   11           these loans, there's the Transworld Systems

   12           server that, as I understand your testimony, is

   13           essentially the same server that NCO had when it

   14           became the servicer of the loans.             Is that fair?

   15     A.    It's multiple servers.         The server is just

   16           computer equipment.

   17     Q.    Right.

   18     A.    There's multiple servers, and the servers that

   19           were tasked with maintaining and housing the

   20           electronic data and documents pertaining to the

   21           National Collegiate Student Loan Trust

   22           portfolios, those servers were transferred from

   23           NCO to TSI.      So the server remained intact with

   24           all data in it, and it just basically changed

   25           ownership.

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    1     Q.    And do you know how many servers there actually

    2           are?

    3     A.    No, ma'am.

    4     Q.    Or were?

    5     A.    No, ma'am.

    6     Q.    Who has access to those servers?

    7     A.    Access to view the data within them?

    8     Q.    Yes.

    9     A.    I don't know.

   10     Q.    You do?

   11     A.    Yes, ma'am.

   12     Q.    Ratchford -- Abrahamsen, Ratchford does?

   13     A.    No, ma'am.      It would only be TSI employees that

   14           would have access, and only some of those

   15           employees, depending on their access level and

   16           job duties.

   17     Q.    Do employees of AES have access to the servers?

   18     A.    Not to the TSI servers.

   19     Q.    Okay.     So as far as you know, your testimony

   20           today is that the only people with access to the

   21           NCO/TSI servers are employees of Transworld

   22           Systems?

   23     A.    To my knowledge, yes, ma'am.

   24     Q.    Okay.     Now, another system you mentioned was

   25           FACS?

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    1     A.    Yes, ma'am.

    2     Q.    And tell me, again, now that we have been

    3           through so much, what that is?

    4     A.    That's a collection system.

    5     Q.    Managed by whom?

    6     A.    TSI.

    7     Q.    Is it still being used?

    8     A.    Yes, ma'am.

    9     Q.    Does anyone other than TSI use the FACS

   10           collection system?

   11     A.    Not to my knowledge.

   12     Q.    Is it a proprietary thing?

   13     A.    I don't know.

   14     Q.    Is it software?

   15     A.    Yes.

   16     Q.    Is FACS different than CRS?

   17     A.    Yes, ma'am.

   18     Q.    Is there information that could be contained in

   19           FACS that's also contained in CRS?             Is there

   20           overlap of these systems?

   21     A.    Not necessarily overlap; but the systems can

   22           communicate through each other -- or to each

   23           other through an online portal.            So FACS is the

   24           collection system where TSI will collect on

   25           accounts.     Some of those accounts could be

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    1           National Collegiate Student Loan Trust accounts.

    2                 The CRS is the servicing system where the

    3           servicing is done out of.          So that's the record

    4           management, the account management of where the

    5           accounts are placed, when they're recalled.

    6                 So in the event that an NCT account is placed

    7           to the TSI collection agency, that account record

    8           would go through an online portal from CRS to the

    9           online portal.       And then FACS would pull the

   10           information from the online portal into FACS to

   11           create an account in FACS where the account would

   12           be collected upon.        Any information that's then

   13           put into the FACS system on a nightly basis would

   14           be sent to the online portal and imported back

   15           into CRS.

   16     Q.    What's the online portal called?

   17     A.    The one that communicates between CRS and FACS is

   18           E -- the letter E, forward, EASE, E A S E, all

   19           one word.

   20     Q.    Who has access to the FACS system?

   21     A.    Various employees of TSI.

   22     Q.    Anyone outside of TSI?

   23     A.    I don't know.

   24     Q.    What determines whether a loan is going to be

   25           collected internally through the FACS system by

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    1           TSI or outsourced to, say, Abrahamsen, Ratchford

    2           for collection?

    3     A.    Well, Ratchford Law Group is -- or Abrahamsen, as

    4           they were formally known, is a law firm.                So

    5           they're on a different -- different forward

    6           model.    So the accounts would generally go

    7           through collection agencies at first for two

    8           years.    And then if collections are unsuccessful,

    9           then it would go to a law firm.            Collection -- or

   10           placement of accounts, whether to our agency

   11           network or an attorney network, are dictated by

   12           various market shares of agencies or firms that

   13           operate within that jurisdiction.

   14                 So essentially, to answer your question about

   15           TSI, it's -- so there's two years of collections,

   16           six months apiece, four agencies for the initial

   17           when the account charges off before it gets to a

   18           law firm.     So there's four different levels.              If

   19           TSI operated in one of those four levels, they

   20           would be assigned a market share for that level

   21           along with other agencies for that market share

   22           comprising 100 percent.

   23                 So the accounts are, let's say, segment

   24           three.    TSI -- for sake of discussion, TSI

   25           operates in segment 3; and they get 10 percent of

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    1           the accounts in segment 3.           So a group of

    2           accounts go from segment 2 to segment 3.                And

    3           those accounts get split up based on the market

    4           share.    So TSI would get 10 percent of those

    5           accounts, and the other accounts would be sent

    6           out based on the market share to those other

    7           agencies.

    8                 Now, currently TSI doesn't operate in any of

    9           the segments; so they're not receiving new

   10           placements of accounts.

   11     Q.    Is a segment a geographic location --

   12     A.    No, ma'am.

   13     Q.    -- or an amount?

   14                 What is a segment?

   15     A.    A segment for the four segments that we

   16           discussed, we call them placement levels.                And

   17           that's basically just time frame of delinquency.

   18           So the first -- or default.           So the first segment

   19           is from the date of default charge-off and six

   20           months.     And then the second segment picks up

   21           from month 6 through 12, and then 12 through 18,

   22           18 through 24.

   23     Q.    But is a segment made up of different collection

   24           agencies?

   25     A.    Yes, ma'am.

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    1     Q.    And they have, what, pitched to get the work?

    2                 You know, we -- Daggett & Parker, we're a

    3           good collection agency; give us some money?

    4                 MR. ALLTMONT:       Objection to form.

    5     BY MS. DILL:

    6     Q.    How do these people get business?

    7     A.    So, I mean, these are people that we have

    8           contracted with for years.           Initially, like if a

    9           new agency wanted our business, then, yes, they

   10           would have to pitch us.          We would have to do an

   11           audit of them, our due diligence, and set them up

   12           if they were approved.

   13                 But all these agencies for the most part have

   14           operated with us for years, and their market

   15           share fluctuates based on various parameters that

   16           are reviewed by the performance team.

   17     Q.    What is the market share of the Ratchford Group?

   18     A.    I don't know.       It would -- it depends on which

   19           state because Ratchford Group operates in

   20           different states.        They potentially could get

   21           different market shares depending on the state.

   22     Q.    And the market share is dependent on the

   23           performance review?

   24     A.    Performance review, compliance also.              Just a

   25           general business review.

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    1     Q.    Okay.    The CRS system, that's a system that we

    2           have talked about.         Who has access to it?

    3     A.    TSI employees.

    4     Q.    Just TSI?

    5     A.    Yes.    Some TSI.     Not all TSI employees have

    6           access to it.

    7     Q.    And what about the Media Locator?

    8     A.    TSI employees.

    9     Q.    Okay.    I think -- I think I'm done unless --

   10           thank you very much.

   11     A.    Thank you.

   12     Q.    I hope you have safe travels home.

   13     A.    Thank you.

   14                  MS. DILL:     Thank you.

   15                  MR. ALLTMONT:       Thank you.

   16                  MS. DILL:     Thank you.

   17                      (The deposition was concluded at 3:56 p.m.)

   18                            -     -    -    -    -     -

   19

   20                                BRADLEY LUKE

   21     Subscribed and sworn to before me
          this       day of              , 2017.
   22

   23
                    Notary Public
   24

   25     Case Name:            NCSLT 2006-3 v. Thurlow, et al.
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    1                          CERTIFICATE

    2                     I, Claudette G. Mason, a Notary

    3           Public in and for the State of Maine, hereby

    4           certify that the within-named deponent was

    5           sworn to testify the truth, the whole truth and

    6           nothing but the truth, in the aforementioned

    7           cause of action.

    8                 I further certify that this deposition

    9           was stenographically reported by me and later

   10           reduced to print through Computer-Aided

   11           Transcription, and the foregoing is a full

   12           and true record of the testimony given by the

   13           deponent.

   14                 I further certify that I am a

   15           disinterested person in the event or outcome

   16           of the above-named cause of action.

   17                 IN WITNESS WHEREOF I subscribe my hand

   18           this 27th day of June, 2017.

   19     Dated at Falmouth, Maine.

   20

   21                                      /s/ Claudette G. Mason
                                           Claudette G. Mason, RMR, CRR
   22                                      Notary Public

   23     My Commission Expires
          June 9, 2019.
   24

   25

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